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18
                              UNITED STATES DISTRICT COURT
19                          NORTHERN DISTRICT OF CALIFORNIA
20                                  SAN JOSE DIVISION

21
     IN RE: ZOOM VIDEO                       Case No. 5:20-CV-02155-LHK
22   COMMUNICATIONS, INC. PRIVACY
     LITIGATION                              JOINT STATEMENT REGARDING
23                                           DISCOVERY DISPUTE
     This Document Relates To: All Actions
24                                           Magistrate Susan van Keulen, presiding
25

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 1          The Parties submit this joint statement seeking the Court’s guidance on the relevance and

 2   appropriate scope of Requests for Production (“RFPs”) that Plaintiffs served on Zoom Video

 3   Communications, Inc. (“Zoom”) (Exhibit 1). Zoom’s objections and responses are attached as

 4   Exhibit 2. The Parties met and conferred but were unsuccessful in resolving the disputes. A joint

 5   chart containing the parties’ respective proposed compromises is attached as Exhibit 3. Fact

 6   discovery is scheduled to close on August 28, 2021, 204 days from the date of this filing.

 7   I.     PLAINTIFFS’ POSITION
 8          Production Date: the RFPs were served five months ago on August 25, 2020, and to date,

 9   Zoom has produced only 1,400 pages of mostly public materials. Despite repeated requests, Zoom
10   refuses to provide a date certain by which it will complete its production and its offer of “substantial
11   completion” two weeks before the class certification motion does not provide sufficient time for
12   Plaintiffs review. Zoom also failed to explain what “substantial completion” means. Plaintiffs,
13   therefore, request the Court order Zoom to complete its production of documents within seven days.
14          Third Party Software Integrations – RFPs 1, 2, 4, 5, 12, 13, 14, 22, 24, 27, 35-39, 41,
15   50, 53, 54, 57, 60, 61, 65, 66: Plaintiffs First Amended Complaint (“FAC”) (Dkt. 126) alleges

16   Zoom improperly shared Plaintiffs’ data without notice or consent through the use of third party

17   software integrations, including illustrations of specific violations related to third party software

18   integrations from Facebook (FAC ¶¶ 73-87), Google (FAC ¶¶ 106-110), and LinkedIn (FAC ¶¶

19   122-127). Yet, the FAC makes clear, “Zoom’s data sharing is not limited to Facebook, Google,
20   and LinkedIn. Zoom also sends personal data about their users to hotjar, Zendesk, AdRoll, Bing,

21   and others.” FAC ¶ 128. Accordingly, Zoom’s data sharing with, and related use of, any third

22   party software integration (as well as the related standard policies, procedures and correspondence),

23   are directly relevant per the allegations of the FAC, and Zoom’s objection to producing documents

24   on the basis of relevance (and otherwise) is unacceptable.

25          Relevance is construed broadly to nclude “any matter that bears on any issue that is or may

26   be in the case.” Plumlee v. Pfizer, Inc., 2014 WL 690511, at *4 (N.D. Cal. Feb. 21, 2014) (J. Koh)

27   citing Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351 (1987). “Discoverable information

28   need not be admissible at trial if the information nevertheless ‘appears reasonably calculated to lead

                                                        1
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 1   to the discovery of admissible evidence.’” Id. In the Ninth Circuit, a broad scope of discovery is

 2   favored as “wide access to relevant facts serves the integrity and fairness of the judicial process by

 3   promoting the search for truth.” Epstein v. MCA, Inc., 54 F.3d 1422, 1423 (9th Cir. 1995).

 4          The FAC clearly describes how Zoom employs and uses third party software integrations

 5   and how those integrations impact Zoom’s users’ data. Plaintiffs are entitled to understand why

 6   Zoom failed to protect its users’ data, including whether Zoom was receiving consideration for user

 7   data provided to third parties such as Facebook, Google, and LinkedIn, why those integrations

 8   functioned differently than others, and what Zoom did differently with other third party integrations

 9   (if anything) to protect user security or data. Plaintiffs’ proposed limitation (see Ex. 3, RFP 1)
10   vastly reduces the number of relevant integrations, that specifically involve data sharing or security
11   risks, to less than 340 apps and the remaining SDKs (which Zoom refuses to identify by name or
12   even number). Zoom rejected this limitation.
13          Violations of Statutes – RFPs 8, 9, 10, 11: Plaintiffs’ requested documents related to
14   Zoom’s compliance with statutes that aim to protect consumers’ data and privacy, e.g. HIPAA—

15   national security standards for electronic and transmission and storage of patients’ health

16   information. See RPFs 8-11; see also 45 CFR § 164 et sec. Such documents are directly relevant

17   to claims in the FAC. For example, internal documents describing the features that Zoom needed

18   to comply with privacy statutes, and whether Zoom offered those features, are relevant to Plaintiffs’

19   claims (and Zoom’s defenses). Contrary to Zoom’s objections, discovery of documents related to
20   legal compliance is not precluded simply because a statute is not specifically identified in a

21   complaint. “[D]iscovery is not limited to issues raised by the pleadings, for discovery itself is

22   designed to help define and clarify the issues. [citation omitted]. Nor is discovery limited to the

23   merits of a case, for a variety of fact-oriented issues may arise during litigation that are not related

24   to the merits.” Oppenheimer, 437 U.S. at 351. Accordingly, Zoom’s efforts (or lack of effort) to

25   comply with statutes related to the protection of users’ data, or user privacy, is relevant.

26          “Three Theories” Limitation – RFPs 5, 22: Zoom improperly seeks to limit the scope of

27   RPFs 5 and 22 to Zoom’s characterization of Plaintiffs’ three theories of the case. This is

28   inappropriate as these RFPs relate to core issues: RFP 5 requests materials published on Zoom’s

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 1   website related to privacy or data collection; RFP 22 requests documents related to the assessment

 2   of weaknesses, vulnerabilities, breaches, or security risks in Zoom’s security and data systems.

 3            Security Misrepresentations – RFP 17-20:          Plaintiffs claim Zoom misrepresented the

 4   level of security, privacy, and safety of its services, and were harmed by these misrepresentations.

 5   The economic valuation of Zoom’s encryption capabilities (RFP 17)—whether by Zoom, enterprise

 6   or non-enterprise clients—is relevant to Plaintiffs’ damages claims in that Plaintiffs claim they

 7   received less than the fair value of what they were promised. Zoom’s actual encryption capabilities,

 8   and representations regarding those capabilities and security (RFPs 18-20), are related to Plaintiffs’

 9   misrepresentation claims. Zoom’s proposal to limit production to “meetings” and “end-to-end” is
10   unwarranted. Zoom’s encryption capabilities, regardless of service type, are relevant to Plaintiffs’
11   claims that Zoom misrepresented its encryption capabilities. Encryption levels vary beyond being
12   “end-to-end,” which is relevant to claims regarding security and safety of Zoom’s platform.
13            RFPs 35-39: Plaintiffs do not agree to limiting production to “substantive” correspondence
14   – that limitation is vague and permits an improper pre-production relevance review.

15            RFP 50: This request is relevant to Plaintiffs’ claims regarding meeting disruptions, as

16   government investigations revealed that Zoom employees shared user account information with the

17   Chinese government in order to terminate meetings.

18   II.      ZOOM'S POSITION
19            Timing & Production Date: Plaintiffs’ proposal that Zoom complete its entire document
20   production within seven days is infeasible, unreasonable and should be rejected.1 Any urgency

21   posed by the upcoming class certification deadline is of Plaintiffs’ own making, as they waited until

22   December—over 2 months after receiving Zoom’s timely objections and responses to Plaintiffs’

23   67 wildly overbroad RFPs—to accept Zoom’s offer to meet and confer, which Zoom scheduled for

24   Plaintiffs’ first available date. The parties have met and conferred since, but Plaintiffs only recently

25   began to inch toward reasonable compromises. Plaintiffs did not provide Zoom with final positions

26   regarding the vast majority of their RFPs until January 27, 2021. See Ex. 2.

27
     1
28    Plaintiffs falsely state that they have made “repeated requests” of Zoom for a date certain for
     completion of document production. Plaintiffs’ first such proposal came on January 27.
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 1          Despite the ongoing disputes, Zoom has been producing non-custodial documents and will

 2   begin its rolling custodial document production with an ~1,700-document production by Monday,

 3   February 8. The full scope of the search and volume of documents to review is not presently known

 4   or estimable, as it depends on the parties’ agreement to custodians and search terms (which the

 5   parties are just beginning to discuss). Zoom will then need to collect and review the remainder of

 6   the responsive documents. A seven-day deadline for completion is thus impossible.

 7          Zoom has proposed to substantially complete its rolling production of documents that Zoom

 8   has thus far agreed to produce by March 12 (assuming reasonable custodians and search terms)—

 9   two weeks prior to Plaintiffs’ class certification deadline. The Court should allow that timeframe.
10          Third Party Integrations: The FAC alleges that Zoom improperly shared user data via
11   three specific third-party integrations with the Zoom Meetings product: the Facebook Software

12   Development Kit (“SDK”), the Firebase Analytics SDK, and the LinkedIn Sales Navigator. These

13   are the only third-party Zoom Meetings integrations out of over 1,000 third-party Zoom Meetings

14   integrations during the relevant time period for which Plaintiffs have provided any specific

15   allegations. Plaintiffs should not be permitted to backdoor their way into discovery into over 1000

16   integrations that are not “relevant to any party’s claim or defense” and not “proportional to the

17   needs of the case.” Fed. R. Civ. P. 26(b)(1); see, e.g., Radware, Inc. v. U.S. Telepacific Corp., No.

18   19CV03835, 2020 WL 1433186, at *1 (N.D. Cal. Mar. 24, 2020) (rejecting as irrelevant discovery

19   requests regarding third parties not at issue). The general relevance standards cited by Plaintiffs,
20   which predate Rule 26’s proportionality standard, do not compel a different result. To avoid

21   burdening the Court with this dispute, Zoom offered to provide Plaintiffs—as a compromise and

22   notwithstanding the irrelevance—discovery sufficient to show that the four other integrations the

23   FAC mentions in passing are not integrations with the Zoom Meetings product, but Plaintiffs

24   refused that compromise and instead propose that Zoom provide information on several broad

25   categories of integrations that are entirely untethered to the theories in the FAC.

26          The Court should reject Plaintiffs’ request for massive, disproportionate, burdensome, and

27   irrelevant discovery into integrations not at issue.

28          Compliance with Statutes:          Plaintiffs seek all documents related to Zoom’s legal

                                                        4
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 1   compliance with myriad statutes, none of which form the basis of Plaintiffs’ claims against Zoom,

 2   including the CCPA (RFP No. 8), even though Plaintiffs have expressly abandoned a CCPA claim

 3   (as the CCPA does not support a private right of action here). These RFPs thus are irrelevant and

 4   not proportional to the needs of the case. See Fed. R. Civ. P. 26(b)(1).

 5          Limitation to the Three Theories: The FAC pleads three theories of allegedly unlawful

 6   conduct regarding Zoom Meetings: alleged meeting disruptions; alleged data sharing through three

 7   specific third-party integrations to the Zoom Meetings product; and alleged misrepresentations

 8   regarding end-to-end encryption. Despite finally agreeing to narrow many of their RFPs to these

 9   three theories, Plaintiffs refuse that limitation for RFP 5 (privacy materials on Zoom’s website) and
10   RFP 22 (cybersecurity risks), which would potentially sweep in massive numbers of irrelevant
11   documents about Zoom’s privacy and security practices.           Plaintiffs also claim all forms of
12   encryption (not just end-to-end) are relevant, but the FAC only pertains to the alleged lack of “end-
13   to-end” encryption and alleged representations surrounding the same. Any (unexplained) tangential
14   relevance is vastly outweighed by the burden of production on Zoom.
15          Security Representations: Plaintiffs are all “non-enterprise” customers—they either used
16   Zoom’s free product or bought an “off-the-shelf” subscription. In contrast, enterprise customers

17   separately negotiate contracts with Zoom (and cannot have their interests represented by Plaintiffs).

18   Plaintiffs fail to show the relevance of documents about customers not at issue in this case.

19   Likewise, Plaintiffs’ allegations all relate only to videoconferences via Zoom Meetings—one of
20   Zoom’s many product offerings. Plaintiffs do not allege that they have ever used the other Zoom

21   products on which they seek discovery (such as IM or Webinar) or that their claims relate to these

22   products. Plaintiffs thus fail to meet their relevance burden and are not entitled to such discovery.

23          RFPs 35-39: Zoom’s proposed limit to “substantive” communications will not be a pre-

24   production relevance review as Plaintiffs contend but rather is intended to reduce burden by

25   excluding irrelevant, non-substantive documents (e.g., scheduling emails and invites).

26          RFP 50: Plaintiffs do not allege that Zoom communicated their—or any class member’s—

27   “login credentials” to any third party. The DOJ complaint referred to by Plaintiffs also does not

28   deal with the provision of “login credentials” to any third party.

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 1
                                              Respectfully submitted,
 2

 3   Dated: February 5, 2021                  /s/ Tyson Redenbarger
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19                                             Communications, Inc.
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 1                  ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)

 2             I, Tyson C. Redenbarger, attest that concurrence in the filing of this document has been

 3   obtained from the other signatory. I declare under penalty of perjury under the laws of the United

 4   States of America that the foregoing is true and correct. Executed this 5th day of February 2021 in

 5   Burlingame, California.

 6                                                             /s/ TYSON C. REDENBARGER
                                                              TYSON C. REDENBARGER
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               EXHIBIT 1
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           Interim Co-Lead Class Counsel
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     19
     20                               UNITED STATES DISTRICT COURT
     21                             NORTHERN DISTRICT OF CALIFORNIA
                                            SAN JOSE DIVISION
     22
     23   IN RE: ZOOM VIDEO COMMUNICATIONS,                Master File No. 5:20-cv-02155-LHK
          INC. PRIVACY LITIGATION
     24                                                    PLAINTIFFS’ FIRST SET OF REQUESTS
     25   This Document Relates To: All Actions            FOR PRODUCTION OF DOCUMENTS

     26
                                                           Hon. Lucy H. Koh
     27
     28



                                       PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
31                                                                     MASTER FILE NO. 5:20-CV-02155-LHK
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     1    PROPOUNDING PARTY:    Plaintiffs Caitlin Brice, Heddi N. Cundle, Isabelle Gmerek, Cynthia
     2                          Gormezano, Kristen Hartmann, M.F. and his parent Therese Jimenez,
     3                          Lisa T. Johnston, Oak Life Church, Saint Paulus Lutheran Church and
     4                          Stacey Simins
     5    RESPONDING PARTY:     Defendant Zoom Video Communications, Inc.
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                                PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
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     1            Plaintiffs hereby propound the following requests for production of documents to Defendant

     2    Zoom Video Communications, Inc. (hereinafter “Defendant”) pursuant to Federal Rules of Civil

     3    Procedure 26 and 34, and request that Defendant produce the documents and electronically-stored

     4    information stated herein within thirty (30) days of service of these requests at to Plaintiffs’ counsel of

     5    record via email to zoomleadcounsel@ahdootwolfson.com and via mail to the offices of Cotchett,

     6    Pitre & McCarthy, LLP, 840 Malcolm Road, Burlingame, CA 94010. Plaintiffs reserve the right to

     7    clarify, amend, modify or supplement a document request as Plaintiffs obtain further information in

     8    discovery or to the extent that Defendant interprets a word or phrase differently than Plaintiffs.

     9                                                DEFINITIONS

     10           1.      “Zoom,” “You” or “Your” means Defendant Zoom Video Communications, Inc. and its

     11   past and present parents, subsidiaries, affiliates, predecessors, successors, employees, independent

     12   contractors, officers, agents, vendors, accountants, and all other persons or entities acting on its behalf

     13   or under its direct or indirect control.

     14           2.      “CCPA” refers to the California Consumer Privacy Act.

     15           3.      “Communication” means the transmittal of information expressed by any means.

     16           4.      “Document” or “documents” includes all documents, communications, information, or

     17   tangible things within the scope of Federal Rules of Civil Procedure 26 and 34, including ESI, including

     18   all versions and nonidentical drafts of documents.

     19           5.      “ESI” or “Electronically Stored Information” means information that is stored in

     20   electronic media, regardless of the media or whether it is in the original format in which it is created,

     21   and that is retrievable in perceivable form and includes metadata, system data, deleted data, and

     22   fragmented data.

     23           6.      “PII” or “Personally Identifiable Information” means information that can be used on

     24   its own or with other information to identify a single person, including name, address, social security

     25   number, date and place of birth, mother’s maiden name, and biometric records.

     26           7.      “PHI” or “Protected Health Information” means information, including demographic

     27   information, that is created or received by a covered entity under the Health Insurance Portability and

     28   Accountability Act of 1996 (“HIPAA”) and relates to the physical and/or mental health or condition of



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     1    the patient, the patient’s health care or payment for that health care.

     2            8.     “Network” means any computer system, including, but not limited to, servers (whether

     3    physical or virtual), desktop computers, laptop computers, tablet computers, smart phones, networking

     4    equipment, internet site, and the software, programs, applications, scripts, operating systems, and/or

     5    databases (including cloud storage provided by third party providers) used to control, access, store,

     6    route, transfer, add, delete, or modify information and data flow.

     7            9.     “Plaintiff(s)” means those individuals named as plaintiffs in the operative complaint in

     8    this action.

     9                                                 INSTRUCTIONS

     10           1.     Unless otherwise stated, the relevant time period for these document requests is January

     11   1, 2016 through the present.

     12           2.     If You withhold information, documents or ESI otherwise discoverable under the

     13   Federal Rules of Civil Procedure by claiming that such information, documents, or ESI are privileged

     14   or subject to protection as trial preparation material, You must make that claim in accordance with

     15   Federal Rule of Civil Procedure 26 and the ESI protocol governing this action. All ESI shall be

     16   produced in accordance with the parties’ Stipulated Order Re: Discovery of Electronically Stored

     17   Information entered in this action on, unless the parties agree otherwise.

     18           3.     If any document is known to have existed but no longer exists, has been destroyed, or is

     19   otherwise unavailable, You must identify the document, the reason for its destruction (if applicable),

     20   the name of each person known or reasonably believed by You to have present possession, custody, or

     21   control of the original and any copy thereof (if applicable), and a description of the disposition of each

     22   copy of the document or ESI.

     23           4.     If no documents or ESI responsive to a request exist, please state that no responsive

     24   documents exist.

     25           5.     These requests are continuing in nature and require supplemental response and

     26   production.

     27           6.     If You assert an objection to any request You must nonetheless respond and produce

     28   any responsive documents that are not subject to the stated objection. If You object to part of a request



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     1    or category, You must specify the portion of the request to which You object and must produce

     2    documents responsive to the remaining parts of the request.

     3
     4                                     REQUESTS FOR PRODUCTION

     5
     6    REQUEST FOR PRODUCTION NO. 1

     7           All Documents concerning Your collection, use, transmission, or storage of PII or PHI

     8    pertaining to Your users, including but not limited to the use of cookies and tracking technologies of

     9    third parties such as Google Analytics, Facebook Analytics, Amazon, hotjar, and zendesk, including

     10   the purpose, manner, and type of such data and it such collection, use, transmission, or storage.

     11   REQUEST FOR PRODUCTION NO. 2

     12          All Documents concerning Your efforts to implement measures for privacy, data protection,

     13   and information security for Your users, the integrity of such measures, and Your assurances to the

     14   public that Your video conferences are private and that the PII or PHI of Your users will be properly

     15   maintained.

     16   REQUEST FOR PRODUCTION NO. 3

     17          All Documents concerning Zoom’s terms of service, terms of use, and privacy policies,

     18   including but not limited to the final policies, draft policies, correspondence related to the development

     19   of the policies, and correspondence regarding modification of such policies.

     20   REQUEST FOR PRODUCTION NO. 4

     21          All Communications with Your users concerning regarding Zoom’s privacy, security, Zoom’s

     22   use of PII or PHI, or Zoom-related data breaches.

     23   REQUEST FOR PRODUCTION NO. 5

     24          Documents regarding all materials ever published on Your website Zoom.us relating to privacy

     25   and/or any data collected from and about anyone who interacts with Zoom’s products.

     26   REQUEST FOR PRODUCTION NO. 6

     27          All Documents referring or relating to the Plaintiffs in this litigation, including but not limited

     28   to all Documents reflecting information of any nature collected regarding Plaintiffs, all Documents



                                          PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
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     1    reflecting the sharing of any such information with third parties, all Documents reflecting Plaintiffs’

     2    acceptance of any version of the Zoom Terms of Service and/or Privacy Policy, and all Documents

     3    including any of Plaintiffs’ PII.

     4    REQUEST FOR PRODUCTION NO. 7

     5           All Documents concerning Your ability to monitor or record the content of your users’ Zoom

     6    meetings.

     7    REQUEST FOR PRODUCTION NO. 8

     8           All Communications regarding Zoom’s compliance with privacy statutes including but not

     9    limited to HIPAA, the CCPA, state data breach acts, state consumer protection acts, the Federal Trade

     10   Commission Act, or other state or federal statutes governing privacy.

     11   REQUEST FOR PRODUCTION NO. 9

     12          All Documents relating to Your efforts to comply with medical privacy laws regarding PHI,

     13   including but not limited to HIPAA.

     14   REQUEST FOR PRODUCTION NO. 10

     15          All Documents relating to the National Security and Personal Data Protection Act, including

     16   Your compliance or non-compliance with that Act, amendments or proposed amendments to that Act,

     17   and correspondence with any government or elected official, their staff, or any lobbyist organization

     18   concerning the same.

     19   REQUEST FOR PRODUCTION NO. 11

     20          All Documents relating to Your membership in, and certification from, the U.S. Department of

     21   Commerce US-EU Privacy Shield, including, but not limited to, your efforts to gain approval as a

     22   member, compliance with its privacy safeguards, and enforcement of the Privacy Shield as to Zoom.

     23   REQUEST FOR PRODUCTION No. 12

     24          All Documents concerning the protection of children’s privacy, PII, and PHI in connection with

     25   the use of Your technologies, including but not limited to Your circumvention of requirements for

     26   protecting student data, school districts’ prohibitions on the use of Zoom as a distance-learning

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     1    platform, and exploitation of Zoom screen-sharing features to interrupt educational sessions.

     2    REQUEST FOR PRODUCTION No. 13

     3           All Documents evidencing Your policies, procedures, protocols, practices, and infrastructure

     4    for preventing unauthorized users from accessing PII or PHI, including but not limited to password

     5    requirements, encryption, other authentication requirements, network segmentation, logging, and

     6    remote access by employees.

     7    REQUEST FOR PRODUCTION NO. 14

     8           All Documents including but not limited to reports, correspondence, internal or external audits,

     9    analyses, studies, reviews, and tasks relating to privacy, data protection and/or cyber security issues

     10   performed by and for any digital security compliance entity, including but not limited to, TrustArc,

     11   Federal Risk and Authorization Management Program (FedRAMP), and the American Institute of

     12   Certified Public Accountants (AICPA), including how Zoom determined the “relevant criteria” and

     13   corresponding controls for Service Organization Controls (SOC) 2 certification.

     14   REQUEST FOR PRODUCTION NO. 15

     15          All Documents relating to the CCPA, including, but not limited to, any Documents regarding

     16   compliance or non-compliance with that Act, amendments or proposed amendments to that Act, and

     17   correspondence with any government or elected official, their staff, or any lobbyist organization

     18   concerning the same.

     19   REQUEST FOR PRODUCTION NO. 16

     20          All Documents relating to the financial or technological feasibility or effect of compliance with

     21   the CCPA.

     22   REQUEST FOR PRODUCTION NO. 17

     23          All Documents relating to financial metric and/or business valuation of encryption capabilities

     24   and implementation in connection with Your technologies.

     25   REQUEST FOR PRODUCTION NO. 18

     26          All Documents relating to representations, statements, announcements, and/or correspondence

     27   made by Zoom to consumers regarding security and privacy protection of its technology by its

     28   encryption capabilities including but not limited to end-to-end encryption.



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     1    REQUEST FOR PRODUCTION NO. 19

     2           All Documents concerning Your encryption capabilities, including but not limited to Your

     3    technical capacity to offer end-to-end encryption for Zoom video meetings, encryption of chat

     4    messages, encryption white papers, ability of consumers to control their security keys, representations

     5    regarding AES-256 encryption, Zoom’s decision to utilize an in-house implementation of

     6    AES-128 encryption in electronic codebook (ECB) mode.

     7    REQUEST FOR PRODUCTION No. 20

     8           All documents concerning the evolution of encryption capability and implementation over time

     9    and across access formats and systems such as but not limited to Zoom Meetings, Zoom Video

     10   Webinars, Zoom Phone, SIP/H.323 room-based system endpoints, legacy systems, and “Zoom

     11   Connectors.”

     12   REQUEST FOR PRODUCTION No. 21

     13          All logs, databases, or other Documents describing potential or actual data breaches, or attempts

     14   by hackers or other unauthorized individuals or programs to access information contained in Your

     15   Networks or information systems.

     16   REQUEST FOR PRODUCTION NO. 22

     17          All Documents concerning Your knowledge and assessment of weaknesses, vulnerabilities,

     18   breaches, and security risks in the Company’s cybersecurity and data protection systems related to

     19   unauthorized access of Zoom users’ PII or PHI and their Zoom account information or credentials,

     20   including but not limited to Zoom’s Security Whitepapers, Common Vulnerabilities and Exposures

     21   (CVE) reports, National Vulnerability Database (NVD) reports, communications with security

     22   researchers regarding such weaknesses and solutions thereto, payment of any “bug bounty” relating to

     23   Zoom, and non-disclosure agreements with outside security researchers.

     24   REQUEST FOR PRODUCTION NO. 23

     25          All Documents concerning the ability of malicious websites to take control of a Zoom user’s

     26   screen and keyboard, enable a user’s camera, and/or install malware without permission, including, but

     27   not limited to, those related to Zoom’s use of an installer bypass, the bundling of the Zoom installer

     28   with malware, and Zoom not distinguishing between regular web addresses and remote networking



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     1    links such as Universal Naming Convention (UNC) path.

     2    REQUEST FOR PRODUCTION NO. 24

     3           All Documents sufficient to identify the total number of possible persons whose information

     4    was accessed, viewed, downloaded, copied, breached or compromised in any way in relation to a data

     5    breach compromising Zoom accounts.

     6    REQUEST FOR PRODUCTION NO. 25

     7           All Documents concerning online vandalism and Your technologies, including, but not limited

     8    to, an automated tool known as “zWarDial” or any tool allowing identification of and/or access to

     9    Zoom meetings by would-be interlopers.

     10   REQUEST FOR PRODUCTION NO. 26

     11          All Documents concerning the material adverse effects on You as a result of the known risks

     12   and weaknesses in Zoom’s cybersecurity and data protection systems, including, but not limited to,

     13   communications among the Board of Directors and members of Zoom’s senior management team.

     14   REQUEST FOR PRODUCTION NO. 27

     15          All Documents, including, but not limited to, any internal or external audits, analyses, studies

     16   or reviews or recommendations performed by Zoom or any third party relating to Zoom’s investigation

     17   of “Zoom Bombings” and “Zoom Raids” and any preventative methods or precautions with regard to

     18   “Zoom Bombings” and “Zoom Raids” for users of Your technologies.

     19   REQUEST FOR PRODUCTION NO. 28

     20          All Documents concerning the ability of attackers to steal Microsoft Windows credentials from

     21   Zoom users.

     22   REQUEST FOR PRODUCTION NO. 29

     23          All Documents concerning Zoom Connectors for Cisco providing an access point for attackers

     24   to control a Cisco video endpoint without obtaining authentication, including, but not limited to, any

     25   communications with Cisco about Cisco’s standards concerning enterprise-grade security.

     26   REQUEST FOR PRODUCTION NO. 30

     27          All Documents concerning the decision and design process to enable users to make recordings

     28   or transcripts of Zoom meetings.



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     1    REQUEST FOR PRODUCTION NO. 31

     2           All Documents, including Communications, concerning transcripts of Zoom meetings that have

     3    recorded or could record the content of chat discussions by users without their knowledge.

     4    REQUEST FOR PRODUCTION NO. 32

     5           All Documents, including Communications, concerning design, implementation, and removal

     6    of Zoom’s attention tracking feature.

     7    REQUEST FOR PRODUCTION NO. 33

     8           All Documents describing how transcripts of Zoom meetings are, would be, or have been

     9    generated, stored, and/or distributed.

     10   REQUEST FOR PRODUCTION NO. 34

     11          All Documents describing how transcripts of Zoom meetings are, would be, or have been used

     12   by Zoom, including but not limited to the training or development of artificial intelligence systems.

     13   REQUEST FOR PRODUCTION NO. 35

     14          All Documents, including subpoenas, other compulsory process, civil investigative demands,

     15   correspondence, or any other requests for information made to Zoom or received by Zoom from any

     16   regulator or government entity, whether state, federal, or in a foreign country (including, but not limited

     17   to, any committee of the United States House of Representatives or Senate; the United States

     18   Department of Justice; the United States Securities and Exchange Commission; the United States

     19   Federal Trade Commission; any State Attorney General or State agency; and the United States Federal

     20   Bureau of Investigation), relating to any matter alleged in the operative complaint in this action.

     21   REQUEST FOR PRODUCTION NO. 36

     22          All Documents provided by You to any regulator or governmental entity, whether state, federal,

     23   or foreign, relating to any matter alleged in the operative complaint in this action.

     24   REQUEST FOR PRODUCTION NO. 37

     25          All Communications with any regulator or governmental entity, whether state, federal, or

     26   foreign, relating to any matter alleged in the operative complaint in this action.

     27   REQUEST FOR PRODUCTION NO. 38

     28          All Documents including document requests, interrogatories, subpoenas, or any other form of



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     1    written discovery served on Zoom (or otherwise received by Zoom) in any litigation, whether in a state

     2    or federal court action, or in a case in a foreign country, relating to any matter alleged in the operative

     3    complaint in this action.

     4    REQUEST FOR PRODUCTION NO. 39

     5            All Documents, including all transcripts or recordings of proceedings, depositions, or

     6    interviews, arising out of a state or federal court action; a case in a foreign country; or a case,

     7    proceeding, investigation, or inquiry made by any regulator or government entity, whether state,

     8    federal, or in a foreign country, relating to Zoom’s security or privacy policies or practices.

     9    REQUEST FOR PRODUCTION NO. 40

     10           All Documents relating to civil litigation against Zoom brought by the Electronic Privacy

     11   Information Center, including but not limited to the complaint filed before the U.S. Federal Trade

     12   Commission on July 11, 2019, bringing claims under Section 5 of the FTC Act related to privacy and

     13   security risks.

     14   REQUEST FOR PRODUCTION NO. 41

     15           All Documents, including, but not limited to, any reports, analyses or studies that reflect, refer,

     16   or relate to the sale, transfer, or exchange of personal data collected by Zoom, and/or the creation of

     17   derivative data from personal data collected by Zoom.

     18   REQUEST FOR PRODUCTION NO. 42

     19           All Documents concerning and/or related to privacy, personal information, and security risks

     20   specifically associated with making PII and PHI available to third parties, including, but not limited to,

     21   all communications between Zoom Board of Directors and Zoom’s senior management team.

     22   REQUEST FOR PRODUCTION NO. 43

     23           All Documents concerning Your sharing or delivery of PII to third parties such as Facebook or

     24   Google, including but not limited to unauthorized disclosures to date and investigations of such

     25   vulnerabilities.

     26   REQUEST FOR PRODUCTION NO. 44

     27           All Documents concerning arrangements such as data sharing partnerships and benefit(s) to

     28   Zoom in connection with providing or otherwise making available analytics data and other information



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     1    from and about Zoom users to third parties including but not limited to Google, Facebook, and

     2    LinkedIn.

     3    REQUEST FOR PRODUCTION NO. 45

     4            All Documents concerning the statement in Your privacy policy dated March 29, 2019 that “We

     5    do not allow marketing companies, advertisers or similar companies to access personal data in

     6    exchange for payment. We do not allow third parties to use any personal data obtained from us for their

     7    own purposes, unless you consent (e.g., when you download an app from the Marketplace).”

     8    REQUEST FOR PRODUCTION NO. 46

     9            All Communications with Facebook concerning PII or Your users’ login information.

     10   REQUEST FOR PRODUCTION NO. 47

     11           All Communications with LinkedIn concerning PII or Your users’ login information.

     12   REQUEST FOR PRODUCTION NO. 48

     13           All Communications with Google concerning PII or Your users’ login information.

     14   REQUEST FOR PRODUCTION NO. 49

     15           All Communications with Otter.ai, Inc.

     16   REQUEST FOR PRODUCTION NO. 50

     17           All Documents concerning Communication of Your users’ login information to any third party.

     18   REQUEST FOR PRODUCTION NO. 51

     19           All Documents concerning Your development of, or cooperation in the development of,

     20   artificial intelligence.

     21   REQUEST FOR PRODUCTION NO. 52

     22           All Documents concerning potential or actual use of artificial intelligence by You, including

     23   tools that allow Zoom users to use any artificial intelligence tools in connection with their Zoom

     24   meetings.

     25   REQUEST FOR PRODUCTION NO. 53

     26           All Documents evidencing architecture maps, diagrams and flow charts concerning Your

     27   Networks and information systems that share data, in any way, with third party servers including but

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     1    not limited to Facebook, Google, LinkedIn, Amazon, or any other advertising, analytics, or social media

     2    platform.

     3    REQUEST FOR PRODUCTION NO. 54

     4           All Documents evidencing architecture maps, diagrams and flow charts concerning Your

     5    Networks and information systems that maintain or that transmit PII or Your users’ login information.

     6    REQUEST FOR PRODUCTION NO. 55

     7           All Documents regarding changes made to Your Network controls and Network security.

     8    REQUEST FOR PRODUCTION NO. 56

     9           All Documents concerning Zoom’s use of the Facebook SDK across clients including but not

     10   limited to Zoom’s decision to remove the Facebook SDK in the iOS client and “reconfigure” the

     11   feature.

     12   REQUEST FOR PRODUCTION NO. 57

     13          All documents concerning Zoom’s internal and external Network traffic auditing procedures and

     14   policies including deep packet inspection.

     15   REQUEST FOR PRODUCTION NO. 58

     16          All Documents concerning the use, capabilities, functionality and application of LinkedIn Sales

     17   Navigator on the Zoom platform.

     18   REQUEST FOR PRODUCTION NO. 59

     19          All Documents concerning the retention or disposition of any information or list generated by

     20   or for the LinkedIn Sales Navigator on the Zoom platform.

     21   REQUEST FOR PRODUCTION NO. 60

     22          All Documents relating to whether Zoom obtained consent from any user, including, but not

     23   limited to, Plaintiffs, to have their PII and/or PHI collected and/or provided to third parties.

     24   REQUEST FOR PRODUCTION NO. 61

     25          All Documents concerning the use of any information gathered for purposes of digital

     26   “fingerprinting,” or the process by which websites and applications can discern that a device belongs

     27   to a particular user based on system configurations, whether by you or any third party.

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     1    REQUEST FOR PRODUCTION NO. 62

     2           All Documents related to the Zoom blog post by Eric Yuan titled “Zoom’s Use of Facebook’s

     3    SDK in iOS Client” and dated March 27, 2020, including but not limited any Document reviewed or

     4    referenced by any person who authored, revised or commented on any draft of that blog post.

     5    REQUEST FOR PRODUCTION NO. 63

     6           All Documents related to the Zoom blog post by Aparna Bawa titled “Zoom’s Privacy Policy”

     7    and dated March 29, 2020, including but not limited any Documents reviewed or referenced by any

     8    person who authored, revised or commented on any draft of that blog post.

     9    REQUEST FOR PRODUCTION NO. 64

     10          All Documents related to the Zoom blog post by Eric Yuan titled “A Message to Our Users”

     11   and dated April 1, 2020, including but not limited any Documents reviewed or referenced by any person

     12   who authored, revised or commented on any draft of that blog post.

     13   REQUEST FOR PRODUCTION NO. 65

     14          All Documents concerning or constituting Your document retention or destruction policy or

     15   policies, including, but not limited to, any practices, procedures, training, training manuals, seminars

     16   and/or classes that You provided, or offered to, Your employees, independent contractors, officers,

     17   directors and/or any third-party vendors concerning the maintenance and security of ESI, including ESI

     18   containing Your customers’ records and information.

     19   REQUEST FOR PRODUCTION NO. 66

     20          All Documents concerning the banning of the use of Zoom’s technologies, including but not

     21   limited to correspondence from businesses, healthcare providers, educational institutions, or

     22   government entities citing privacy or security concerns.

     23   REQUEST FOR PRODUCTION NO. 67

     24          All of Your insurance policies that may cover any of the claims in the above-captioned action.

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                                                Respectfully submitted,
     1
     2    DATED: August 25, 2020                /s/ Tina Wolfson
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     3
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     8
                                          Plaintiffs’ Steering Committee
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18
                        UNITED STATES DISTRICT COURT
19
                      NORTHERN DISTRICT OF CALIFORNIA
20                            SAN JOSE DIVISION
21
     IN RE: ZOOM VIDEO                        Case No. 5:20-cv-02155-LHK
22   COMMUNICATIONS, INC.
     PRIVACY LITIGATION
23
                                              PROOF OF SERVICE BY
24                                            ELECTRONIC MAIL AND U.S.
                                              MAIL
25
26
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29
                                           PROOF OF SERVICE BY EMAIL AND U.S. MAIL
30                                                          Case No. 5:20-cv-02155-LHK
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            I am a citizen of the United States and employed in Los Angeles, California. I
 1
 2 am over the age of eighteen years and not a party to the within-entitled action. My business
 3 address is 10728 Lindbrook Drive, Los Angeles, California 90024.
 4          I am also readily familiar with this firm’s practice for collection and processing of
 5 correspondence for mailing with the United States Postal Service. Following ordinary business
 6
     practices, an envelope was sealed and placed for collection and mailing on this date, and would,
 7
     in the ordinary course of business, be deposited with the United States Postal Service on this date.
 8
            On August 25, 2020, I caused to be served copies of the following document(s):
 9
10                  1. PLAINTIFFS' FIRST SET OF REQUESTS FOR PRODUCTION OF
                    DOCUMENTS; and
11
                    2. PROOF OF SERVICE BY ELECTRONIC MAIL AND U.S. MAIL
12
13 on the following party in this action through its respective counsel:
14 Michael G. Rhodes (rhodesmg@cooley.com)
     Travis LeBlanc (tleblanc@cooley.com)
15   Kathleen Hartnett (khartnett@cooley.com)
     Danielle Pierre (dpierre@cooley.com)
16   Joseph Mornin (jmornin@cooley.com)
     Evan Slovak (eslovak@cooley.com)
17
     COOLEY LLP
18   101 California Street, 5th Floor
     San Francisco, California 94111-5800
19
            Additionally, on the same date, I attached PDF copies of the documents listed above to an
20
21 email and sent that email to the email addresses listed above.
22          Executed on August 25, 2020, at Los Angeles, California.

23                                                By:     /s/ Rachel R. Johnson
24                                                        Rachel R. Johnson
25
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27
28
29
                                                        PROOF OF SERVICE BY EMAIL AND U.S. MAIL
30                                                                       Case No. 5:20-cv-02155-LHK
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                EXHIBIT 2
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                   12   Attorneys for Defendant
                        ZOOM VIDEO COMMUNICATIONS, INC.
                   13

                   14                                UNITED STATES DISTRICT COURT

                   15                           NORTHERN DISTRICT OF CALIFORNIA

                   16                                     SAN JOSE DIVISION
                   17

                   18   IN RE: ZOOM VIDEO COMMUNICATIONS             Master Case No. 5:20-cv-02155-LHK
                        INC. PRIVACY LITIGATION,
                   19
                                                                     DEFENDANT ZOOM VIDEO
                   20                                                COMMUNICATIONS, INC.’S OBJECTIONS
                        This Documents Relates To:                   AND RESPONSES TO PLAINTIFFS’ FIRST
                   21   All Actions                                  SET OF REQUESTS FOR PRODUCTION OF
                                                                     DOCUMENTS
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                   28
COOLEY LLP
ATTORNEYS AT LAW
 SAN FRANCISCO                                                                ZOOM’S RESPONSES AND OBJECTIONS TO
                                                                                     PLAINTIFFS’ FIRST SET OF RFPS
                                                                               MASTER CASE NO. 5:20-CV-02155-LHK
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                    1   PROPOUNDING PARTY:            Plaintiffs Caitlin Brice, Heddi N. Cundle, Isabelle Gmerek, Cynthia
                                                      Gormezano, Kristen Hartmann, M.F. and his parent Therese
                    2                                 Jimenez, Lisa T. Johnston, Oak Life Church, Saint Paulus Lutheran
                    3                                 Church, and Stacey Simins

                    4   RESPONDING PARTY:             Defendant Zoom Video Communications, Inc.
                    5   SET NUMBER:                   One
                    6          Pursuant to Federal Rules of Civil Procedure Rules 26 and 34, Defendant Zoom Video
                    7   Communications, Inc. (“Zoom”) responds as follows to Plaintiffs’ Caitlin Brice, Heddi N. Cundle,
                    8   Isabelle Gmerek, Cynthia Gormezano, Kristen Hartmann, M.F. and his parent Therese Jimenez,
                    9   Lisa T. Johnston, Oak Life Church, Saint Paulus Lutheran Church and Stacey Simins (“Plaintiffs”)
                   10   First Set of Requests for Production of Documents (“the Requests”):
                   11   I.     GENERAL RESPONSE.
                   12          1.      Zoom’s response to the Requests is made to the best of Zoom’s current employees’
                   13   present knowledge, information, and belief. This response is at all times subject to such additional
                   14   or different information that discovery or further investigation may disclose and, while based on
                   15   the present state of Zoom’s recollection, is subject to such refreshing of recollection, and such
                   16   additional knowledge of facts, as may result from Zoom’s further discovery or investigation.
                   17          2.      Zoom reserves the right to make any use of, or to introduce at any hearing and at
                   18   trial, documents responsive to the Requests but discovered subsequent to the date of Zoom’s initial
                   19   production, including, but not limited to, any documents obtained in discovery herein.
                   20          3.      Zoom will not produce documents which Zoom or any other party to this litigation
                   21   deems to embody material that is private, business confidential, proprietary, trade secret or
                   22   otherwise protected from disclosure pursuant to Federal Rule of Civil Procedure 26(c)(7), Federal
                   23   Rule of Evidence 501, California Evidence Code section 1060, or California Constitution, Article I,
                   24   section 1. Under appropriate circumstances, Zoom may agree to produce such documents upon the
                   25   entry of, and subject to, an appropriate protective order against the unauthorized use or disclosure
                   26   of such information. Zoom will not produce any documents until such a protective order is in place.
                   27          4.      Zoom reserves the right to decide whether the documents produced for inspection
                   28   shall be produced as they are kept in the usual course of business or shall be organized and labeled
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                                                                                              PLAINTIFFS’ FIRST SET OF RFPS
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                    1   to correspond with the categories in the Requests, in accordance with Federal Rule of Civil

                    2   Procedure 34(b).

                    3          5.      Zoom reserves all objections or other questions as to the competency, relevance,

                    4   materiality, privilege or admissibility as evidence in any subsequent proceeding in or trial of this

                    5   or any other action for any purpose whatsoever of this response and any document or thing

                    6   produced in response to the Requests.

                    7          6.      Zoom will not construe the Requests as an attempt to impose discovery obligations

                    8   on Zoom beyond those authorized by the Federal Rules of Civil Procedure. Zoom will not

                    9   undertake discovery obligations beyond those authorized by the Federal Rules of Civil Procedure

                   10   or the Local Rules of the United States District Court for the Northern District of California.

                   11          7.      Zoom reserves the right to object on any ground at any time to such other or

                   12   supplemental requests for production as Zoom may at any time propound involving or relating to

                   13   the subject matter of these Requests.

                   14          8.      By stating in these responses that Zoom will produce documents or is searching for

                   15   responsive documents, Zoom will make a good faith effort to produce the documents, to the extent

                   16   they exist, within a reasonable time, on a rolling basis, and as quickly and efficiently as possible,

                   17   in accordingly with Rule 34 of the Federal Rules of Civil Procedure.

                   18          9.      By stating in these responses that Zoom will produce documents or is searching for

                   19   responsive documents, Zoom does not represent that such documents actually exist, but rather that

                   20   it will make a good faith search and attempt to ascertain whether documents responsive to the

                   21   Request do, in fact, exist, and to produce such documents if they are found to exist and are within

                   22   Zoom’s records or files. Zoom will use reasonable diligence to locate responsive documents based

                   23   on an examination of those files that reasonably may be expected to yield responsive documents

                   24   and an inquiry of those employees who reasonably may be expected to possess responsive

                   25   documents.

                   26   II.    OBJECTIONS TO DEFINITIONS AND INSTRUCTIONS.
                   27          Zoom makes the following objections, to each and every applicable instruction, definition,

                   28   and document request made in Plaintiffs’ First Set of Requests for Production of Documents:
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                    1          1.      Zoom objects to all Definitions, Instructions, and Document Requests inclusive,

                    2   insofar as each such request seeks information or documents protected from disclosure pursuant to

                    3   Federal Rule of Evidence 501 and California Revenue and Taxation Code sections 451, 7056, and

                    4   19542. Such information or documents shall not be produced in response to the Requests and any

                    5   inadvertent production thereof shall not be deemed a waiver of any privilege with respect to such

                    6   information or documents.

                    7          2.      Zoom objects to all Definitions, Instructions, and Document Requests inclusive, to

                    8   the extent they seek documents not currently in Zoom’s possession, custody or control, or refer to

                    9   persons, entities or events not known to Zoom, on the grounds that such Instructions, Definitions,

                   10   or Requests seek to require more of Zoom than any obligation imposed by law, would subject Zoom

                   11   to unreasonable and undue annoyance, oppression, burden, and expense, and would seek to impose

                   12   upon Zoom an obligation to investigate or discover information or materials from third parties or

                   13   services who are equally accessible to Plaintiffs.

                   14          3.      Zoom objects to all Definitions and Instructions and to the Document Requests

                   15   specified below in which the phrases “relate to,” “relating to,” “in relation to,” and “related to” or

                   16   the term “regarding” appears. The phrases “relate to,” “relating to,” “in relation to,” and “related

                   17   to” and the term “regarding” are overly broad, vague, ambiguous, and unintelligible, require

                   18   subjective judgment on the part of Zoom and Zoom’s attorneys, and would require a conclusion or

                   19   opinion of counsel in violation of the attorney work product doctrine. Without waiving this

                   20   objection, and subject to all other applicable objections or privileges stated herein, Zoom will

                   21   produce, in response to any request for documents that “relate” to or “regard” a given subject, such

                   22   documents as expressly reflect or refer on their face to information relevant to the specified subject.

                   23          4.      Zoom objects to all Definitions and Instructions and to the Document Requests

                   24   specified below in which the phrase “concerning” appears. The term “concerning” is overly broad,

                   25   vague, ambiguous, and unintelligible, requires the application and disclosure of the subjective legal

                   26   judgment of Zoom’s attorneys, and would require the disclosure of a conclusion or opinion of

                   27   counsel in violation of the attorney work product doctrine. Without waiving this objection, and

                   28   subject to all other applicable objections or privileges stated herein, Zoom will produce, in response
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                    1   to any Requests for documents that “concern” a given subject or that are “concerning” a given

                    2   subject, such documents as expressly discuss or refer on their face to that subject (if any such

                    3   documents exist).

                    4           5.      Zoom objects to definition number 1 to the extent it defines “Zoom” to include “its

                    5   past and present parents, subsidiaries, affiliates, predecessors, successors, employees, independent

                    6   contracts, officers, agents, vendors, accountants, and all other persons or entities acting on its behalf

                    7   or under its direct or indirect control.” Said definition is vague and ambiguous, is overly broad,

                    8   and would subject Zoom to unreasonable and undue annoyance, oppression, burden, and expense.

                    9   Zoom further objects to this definition to the extent that it may expand Requests to include

                   10   documents not within the possession, custody, or control of Zoom, and therefore asks more of Zoom

                   11   than allowed by the Federal Rules of Civil Procedure. Zoom will interpret “Zoom,” “You,” and

                   12   “Your” to refer to Zoom Video Communications, Inc., that entity’s officers and employees, and

                   13   any predecessors or successors to that entity.

                   14           6.      Zoom objects to the time period specified in Plaintiffs’ First Set of Requests for

                   15   Production because it is excessive, and would subject Zoom to unreasonable and undue annoyance,

                   16   oppression, burden, and expense. Zoom will produce documents from March 30, 2016 to the

                   17   present.

                   18           7.      Zoom objects to instruction number 2 to the extent it seeks to require Zoom to

                   19   identify anything other than the specific claim of privilege or work product being made and the

                   20   grounds for such claim, on the ground that the Requests encompass potentially thousands of pages

                   21   of documents, not all of which have as yet been identified or reviewed by counsel. Accordingly,

                   22   said instruction would subject Zoom to unreasonable and undue annoyance, oppression, burden,

                   23   and expense, and seeks information protected from discovery by privilege and as work product.

                   24   Without waiving this objection and subject to all other objections, privileges and exceptions set

                   25   forth herein, Zoom will identify the date, author, and recipient(s) of each document withheld on the

                   26   basis of privilege or work product.

                   27           8.      Zoom objects to the statement in instruction number 3 to the extent it seeks to require

                   28   Zoom to search for information about documents no longer in existence or in Zoom’s possession,
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                    1   custody or control, on the grounds that said instruction is overly broad, would subject Zoom to

                    2   undue annoyance, oppression, burden, and expense, and seeks to impose upon Zoom an obligation

                    3   to investigate information or materials from third parties or services who are equally accessible to

                    4   Plaintiff.

                    5           9.      Zoom objects to the Requests, as specified below, to the extent they use the term

                    6   “meeting.” Such term is vague and ambiguous, is overly broad, and would subject Zoom to

                    7   unreasonable and undue annoyance, oppression, burden, and expense.                Zoom will interpret

                    8   “meeting” to mean the content transmitted through the use of Zoom’s standard videoconferencing

                    9   service, and not to include the following specialized services the use of which no Plaintiff has

                   10   pleaded, including Zoom Rooms, Zoom Phone, Zoom Chat, Zoom Video Webinars, Zoom for

                   11   Education, Zoom for Government, and Zoom for Healthcare.

                   12           10.     Zoom objects to the Requests, as specified below, to the extent that the Requests

                   13   seek documents relating to Zoom’s encryption or end-to-end encryption (terms that are undefined,

                   14   susceptible to multiple meanings, and thus vague and ambiguous) and do not identify or otherwise

                   15   differentiate between the various services and clients offered by Zoom or Zoom’s internal

                   16   operations. Such requests are vague and ambiguous, overly broad and unduly burdensome, and

                   17   Zoom will not produce documents in response to such Requests except to the extent the documents

                   18   relate to end-to-end encryption for meeting data, based on Zoom’s interpretation of the term

                   19   “meeting” stated in the preceding paragraph.

                   20           11.     Zoom objects to the Requests, as specified below, to the extent that they seek

                   21   documents or information, the disclosure of which is prohibited by law, regulation, or any

                   22   protective order limiting its disclosures, the order of a court or other authority of the jurisdiction in

                   23   which the documents or information are located, or by principles of sovereignty and comity. Such

                   24   documents or information shall not be produced in response to the Requests.

                   25           12.     Zoom objects to the Requests, as specified below, to the extent that they seek

                   26   documents or information, the disclosure of which is prohibited by a non-disclosure agreement or

                   27   confidentiality agreement. Such documents or information shall not be produced in response to the

                   28   Requests.
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ATTORNEYS AT LAW                                                                          ZOOM’S RESPONSES AND OBJECTIONS TO
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                    1          13.     Zoom objects to Plaintiffs’ attempt to impose unilaterally a date, time, and place for

                    2   producing and/or making available documents, if any, responsive to the Requests. Zoom shall

                    3   make the documents available for inspection and copying by a mutually agreeable time and place.

                    4          14.     Zoom objects to all Definitions, Instructions, and Document Requests inclusive,

                    5   insofar as each such request seeks production of documents or information protected by the

                    6   attorney-client privilege, the work product doctrine, or the right of privacy under the California

                    7   Constitution, article I, section 1. Such documents or information shall not be produced in response

                    8   to the Requests, and any inadvertent production thereof shall not be deemed a waiver of any

                    9   privilege or right with respect to such documents or information or of any work product doctrine

                   10   that may attach thereto.

                   11          15.     Zoom objects to the Requests to the extent they seek discovery relating to Zoom’s

                   12   features, Zoom’s offerings, third-party products, or services, or to allegations concerning alleged

                   13   wrongdoing for which (a) there is no allegation that any named Plaintiff used such a product or

                   14   service, or (b) there is no allegation that the feature, offering, product, service, or alleged

                   15   wrongdoing forms the basis of any cause of action.

                   16   RESPONSE AND RESPONSES TO DOCUMENT REQUESTS.
                   17          Without waiving or limiting in any manner any of the foregoing Objections to Definitions

                   18   and Instructions, but rather incorporating them into each of the following responses to the extent

                   19   applicable, Zoom responds to the enumerated requests of Plaintiffs’ First Set of Requests for

                   20   Production of Documents as follows:

                   21   REQUEST FOR PRODUCTION NO. 1:

                   22          All Documents concerning Your collection, use, transmission, or storage of PII or PHI

                   23   pertaining to Your users, including but not limited to the use of cookies and tracking technologies

                   24   of third parties such as Google Analytics, Facebook Analytics, Amazon, hotjar, and zendesk,

                   25   including the purpose, manner, and type of such data and it such collection, use, transmission, or

                   26   storage.

                   27

                   28
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 SAN FRANCISCO                                                           6                    PLAINTIFFS’ FIRST SET OF RFPS
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                    1   RESPONSE TO REQUEST FOR PRODUCTION NO. 1:

                    2          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                    3   to Definitions and Instructions Number 4, which Zoom incorporates by reference, Zoom

                    4   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                    5   and defenses in this case and not proportional to the needs of the case. Zoom further objects to this

                    6   Request as imposing on Zoom undue burden and expense. Zoom additionally objects that the

                    7   phrases “collection, use, transmission, or storage of,” “purpose, manner, and type of such data,”

                    8   and “use of cookies and tracking technologies of third parties” are vague and ambiguous. Zoom

                    9   objects to this Request to the extent it seeks documents protected by the attorney-client privilege

                   10   or the work product doctrine.

                   11          Subject to the foregoing objections, Zoom responds that it will meet and confer with

                   12   Plaintiffs about this Request.

                   13   REQUEST FOR PRODUCTION NO. 2:

                   14          All Documents concerning Your efforts to implement measures for privacy, data protection,

                   15   and information security for Your users, the integrity of such measures, and Your assurances to the

                   16   public that Your video conferences are private and that the PII or PHI of Your users will be properly

                   17   maintained.

                   18   RESPONSE TO REQUEST FOR PRODUCTION NO. 2:

                   19          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   20   to Definitions and Instructions Number 4, which Zoom incorporates by reference, Zoom

                   21   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                   22   and defenses in this case and not proportional to the needs of the case. Zoom further objects to this

                   23   Request as imposing on Zoom undue burden and expense. Zoom additionally objects that the

                   24   phrases “implement measures,” “the integrity of such measures,” and “Your assurances to the

                   25   public” are vague and ambiguous. Zoom objects to this Request to the extent it seeks documents

                   26   protected by the attorney-client privilege or the work product doctrine.

                   27          Subject to the foregoing objections, Zoom responds that it will meet and confer with

                   28   Plaintiffs about this Request.
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ATTORNEYS AT LAW                                                                        ZOOM’S RESPONSES AND OBJECTIONS TO
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                    1   REQUEST FOR PRODUCTION NO. 3:

                    2          All Documents concerning Zoom’s terms of service, terms of use, and privacy policies,

                    3   including but not limited to the final policies, draft policies, correspondence related to the

                    4   development of the policies, and correspondence regarding modification of such policies.

                    5   RESPONSE TO REQUEST FOR PRODUCTION NO. 3:

                    6          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                    7   to Definitions and Instructions Number 4 and General Response Number 3, which Zoom

                    8   incorporates by reference, Zoom specifically objects that this Request is overly broad and seeks

                    9   documents not relevant to the claims and defenses in this case and not proportional to the needs of

                   10   the case. Zoom further objects to this Request as imposing on Zoom undue burden and expense.

                   11   Zoom additionally objects to this Request to the extent it seeks documents protected by the

                   12   attorney-client privilege or the work product doctrine.

                   13          Subject to the foregoing objections, Zoom will conduct a reasonable search and produce

                   14   final versions of its terms of service, terms of use, and privacy policies that it locates pursuant to

                   15   the terms of a mutually agreeable protective order.

                   16   REQUEST FOR PRODUCTION NO. 4:

                   17          All Communications with Your users concerning regarding Zoom’s privacy, security,

                   18   Zoom’s use of PII or PHI, or Zoom-related data breaches.

                   19   RESPONSE TO REQUEST FOR PRODUCTION NO. 4:

                   20          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   21   to Definitions and Instructions Number 4, which Zoom incorporates by reference, Zoom

                   22   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                   23   and defenses in this case and not proportional to the needs of the case. Zoom further objects to this

                   24   Request as imposing on Zoom undue burden and expense. Zoom additionally objects that the

                   25   phrase “privacy, security, Zoom’s use of PII or PHI, or Zoom-related data breaches” is vague and

                   26   ambiguous. Zoom objects to this Request to the extent it seeks documents protected by the right

                   27   of privacy under the California Constitution, article I, section 1.

                   28
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                    1          Subject to the foregoing objections, Zoom responds that it will meet and confer with

                    2   Plaintiffs about this Request.

                    3   REQUEST FOR PRODUCTION NO. 5:

                    4          Documents regarding all materials ever published on Your website Zoom.us relating to

                    5   privacy and/or any data collected from and about anyone who interacts with Zoom’s products.

                    6   RESPONSE TO REQUEST FOR PRODUCTION NO. 5:

                    7          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                    8   to Definitions and Instructions Number 3, which Zoom incorporates by reference, Zoom

                    9   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                   10   and defenses in this case and not proportional to the needs of the case. Zoom further objects to this

                   11   Request as imposing on Zoom undue burden and expense. Zoom additionally objects that the

                   12   phrase “privacy and/or any data collected from and about anyone who interacts with Zoom’s

                   13   products” is vague and ambiguous.

                   14          Subject to the foregoing objections, Zoom responds that it will meet and confer with

                   15   Plaintiffs about this Request.

                   16   REQUEST FOR PRODUCTION NO. 6:

                   17          All Documents referring or relating to the Plaintiffs in this litigation, including but not

                   18   limited to all Documents reflecting information of any nature collected regarding Plaintiffs, all

                   19   Documents reflecting the sharing of any such information with third parties, all Documents

                   20   reflecting Plaintiffs’ acceptance of any version of the Zoom Terms of Service and/or Privacy

                   21   Policy, and all Documents including any of Plaintiffs’ PII.

                   22   RESPONSE TO REQUEST FOR PRODUCTION NO. 6:

                   23          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   24   to Definitions and Instructions Number 3 and General Response Number 3, which Zoom

                   25   incorporates by reference, Zoom specifically objects that this Request is overly broad and seeks

                   26   documents not relevant to the claims and defenses in this case and not proportional to the needs of

                   27   the case, including because Plaintiffs have not alleged any personal connection to or harm from the

                   28   alleged third-party data sharing. Zoom further objects to this Request as imposing on Zoom undue
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                    1   burden and expense. Zoom additionally objects that the phrase “information of any nature collected

                    2   regarding Plaintiffs” is vague and ambiguous.

                    3          Subject to the foregoing objections, Zoom will conduct a reasonable search and produce

                    4   responsive, non-privileged documents, if any, regarding Plaintiffs’ Zoom accounts to the extent

                    5   that Zoom can identify the accounts as belonging to Plaintiffs pursuant to the terms of a mutually

                    6   agreeable protective order.

                    7   REQUEST FOR PRODUCTION NO. 7:

                    8          All Documents concerning Your ability to monitor or record the content of your users’

                    9   Zoom meetings.

                   10   RESPONSE TO REQUEST FOR PRODUCTION NO. 7:

                   11          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   12   to Definitions and Instructions Numbers 4 and 9, which Zoom incorporates by reference, Zoom

                   13   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                   14   and defenses in this case and not proportional to the needs of the case. Zoom further objects to this

                   15   Request as imposing on Zoom undue burden and expense. Zoom additionally objects that the terms

                   16   “monitor” and “record” are vague and ambiguous. Zoom objects to this Request to the extent it

                   17   seeks documents protected by the attorney-client privilege or the work product doctrine.

                   18          Subject to the foregoing objections, Zoom responds that it will meet and confer with

                   19   Plaintiffs about this Request.

                   20   REQUEST FOR PRODUCTION NO. 8:

                   21          All Communications regarding Zoom’s compliance with privacy statutes including but not

                   22   limited to HIPAA, the CCPA, state data breach acts, state consumer protection acts, the Federal

                   23   Trade Commission Act, or other state or federal statutes governing privacy.

                   24   RESPONSE TO REQUEST FOR PRODUCTION NO. 8:

                   25          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   26   to Definitions and Instructions Numbers 3, 11, and 12, which Zoom incorporates by reference,

                   27   Zoom specifically objects that this Request is overly broad and seeks documents not relevant to the

                   28   claims and defenses in this case and not proportional to the needs of the case. Zoom further objects
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                    1   to this Request as imposing on Zoom undue burden and expense. Zoom objects to this Request to

                    2   the extent it seeks documents protected by the attorney-client privilege or the work product

                    3   doctrine.

                    4          Subject to the foregoing objections, Zoom has not conducted and will not conduct searches

                    5   for responsive documents, and, as a result, will not produce documents in response to this Request.

                    6   REQUEST FOR PRODUCTION NO. 9:

                    7          All Documents relating to Your efforts to comply with medical privacy laws regarding PHI,

                    8   including but not limited to HIPAA.

                    9   RESPONSE TO REQUEST FOR PRODUCTION NO. 9:

                   10          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   11   to Definitions and Instructions Numbers 3, 11, and 12, which Zoom incorporates by reference,

                   12   Zoom specifically objects that this Request is overly broad and seeks documents not relevant to the

                   13   claims and defenses in this case and not proportional to the needs of the case. Zoom further objects

                   14   to this Request as imposing on Zoom undue burden and expense. Zoom objects to this Request to

                   15   the extent it seeks documents protected by the attorney-client privilege or the work product

                   16   doctrine.

                   17          Subject to the foregoing objections, Zoom has not conducted and will not conduct searches

                   18   for responsive documents, and, as a result, will not produce documents in response to this Request.

                   19   REQUEST FOR PRODUCTION NO. 10:

                   20          All Documents relating to the National Security and Personal Data Protection Act, including

                   21   Your compliance or non-compliance with that Act, amendments or proposed amendments to that

                   22   Act, and correspondence with any government or elected official, their staff, or any lobbyist

                   23   organization concerning the same.

                   24   RESPONSE TO REQUEST FOR PRODUCTION NO. 10:

                   25          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   26   to Definitions and Instructions Numbers 3, 11, and 12, which Zoom incorporates by reference,

                   27   Zoom specifically objects that this Request is overly broad and seeks documents not relevant to the

                   28   claims and defenses in this case and not proportional to the needs of the case. Zoom further objects
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                    1   to this Request as imposing on Zoom undue burden and expense. Zoom objects to this Request to

                    2   the extent it seeks documents protected by the attorney-client privilege or the work product

                    3   doctrine.

                    4           Subject to the foregoing objections, Zoom has not conducted and will not conduct searches

                    5   for responsive documents, and, as a result, will not produce documents in response to this Request.

                    6   REQUEST FOR PRODUCTION NO. 11:

                    7           All Documents relating to Your membership in, and certification from, the U.S. Department

                    8   of Commerce US-EU Privacy Shield, including, but not limited to, your efforts to gain approval as

                    9   a member, compliance with its privacy safeguards, and enforcement of the Privacy Shield as to

                   10   Zoom.

                   11   RESPONSE TO REQUEST FOR PRODUCTION NO. 11:

                   12           In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   13   to Definitions and Instructions Numbers 3, 11, and 12, which Zoom incorporates by reference,

                   14   Zoom specifically objects that this Request is overly broad and seeks documents not relevant to the

                   15   claims and defenses in this case and not proportional to the needs of the case. Zoom further objects

                   16   to this Request as imposing on Zoom undue burden and expense. Zoom objects to this Request to

                   17   the extent it seeks documents protected by the attorney-client privilege or the work product

                   18   doctrine.

                   19           Subject to the foregoing objections, Zoom has not conducted and will not conduct searches

                   20   for responsive documents, and, as a result, will not produce documents in response to this Request.

                   21   REQUEST FOR PRODUCTION NO. 12:

                   22           All Documents concerning the protection of children’s privacy, PII, and PHI in connection

                   23   with the use of Your technologies, including but not limited to Your circumvention of requirements

                   24   for protecting student data, school districts’ prohibitions on the use of Zoom as a distance-learning

                   25   platform, and exploitation of Zoom screen-sharing features to interrupt educational session

                   26   RESPONSE TO REQUEST FOR PRODUCTION NO. 12:

                   27           In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   28   to Definitions and Instructions Number 4, which Zoom incorporates by reference, Zoom
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                    1   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                    2   and defenses in this case and not proportional to the needs of the case. Zoom further objects to this

                    3   Request as imposing on Zoom undue burden and expense. Zoom additionally objects that the

                    4   phrase “circumvention of requirements for protecting student data, school districts’ prohibitions on

                    5   the use of Zoom as a distance-learning platform, and exploitation of Zoom screen-sharing features

                    6   to interrupt educational sessions” is vague and ambiguous. Zoom objects to this Request to the

                    7   extent it seeks documents protected by the attorney-client privilege or the work product doctrine.

                    8          Subject to the foregoing objections, Zoom responds that it will meet and confer with

                    9   Plaintiffs about this Request.

                   10   REQUEST FOR PRODUCTION NO. 13:

                   11          All Documents evidencing Your policies, procedures, protocols, practices, and

                   12   infrastructure for preventing unauthorized users from accessing PII or PHI, including but not

                   13   limited to password requirements, encryption, other authentication requirements, network

                   14   segmentation, logging, and remote access by employees.

                   15   RESPONSE TO REQUEST FOR PRODUCTION NO. 13:

                   16          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   17   to Definitions and Instructions Number 4, which Zoom incorporates by reference, Zoom

                   18   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                   19   and defenses in this case and not proportional to the needs of the case. Zoom further objects to this

                   20   Request as imposing on Zoom undue burden and expense. Zoom additionally objects that the

                   21   phrase “unauthorized users” is vague, ambiguous, and unintelligible given the later reference to

                   22   employees. Zoom objects to this Request to the extent it seeks documents protected by the attorney-

                   23   client privilege or the work product doctrine.

                   24          Subject to the foregoing objections, Zoom responds that it will meet and confer with

                   25   Plaintiffs about this Request.

                   26   REQUEST FOR PRODUCTION NO. 14:

                   27          All Documents including but not limited to reports, correspondence, internal or external

                   28   audits, analyses, studies, reviews, and tasks relating to privacy, data protection and/or cyber security
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                    1   issues performed by and for any digital security compliance entity, including but not limited to,

                    2   TrustArc, Federal Risk and Authorization Management Program (FedRAMP), and the American

                    3   Institute of Certified Public Accountants (AICPA), including how Zoom determined the “relevant

                    4   criteria” and corresponding controls for Service Organization Controls (SOC) 2 certification.

                    5   RESPONSE TO REQUEST FOR PRODUCTION NO. 14:

                    6          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                    7   to Definitions and Instructions Numbers 3, 11, and 12, which Zoom incorporates by reference,

                    8   Zoom specifically objects that this Request is overly broad and seeks documents not relevant to the

                    9   claims and defenses in this case and not proportional to the needs of the case. Zoom further objects

                   10   to this Request as imposing on Zoom undue burden and expense. Zoom additionally objects that

                   11   the phrase “any digital security compliance entity” is vague, ambiguous, and unintelligible given

                   12   the later reference to employees. Zoom objects to this Request to the extent it seeks documents

                   13   protected by the attorney-client privilege or the work product doctrine.

                   14          Subject to the foregoing objections, Zoom has not conducted and will not conduct searches

                   15   for responsive documents, and, as a result, will not produce documents in response to this Request.

                   16   REQUEST FOR PRODUCTION NO. 15:

                   17          All Documents relating to the CCPA, including, but not limited to, any Documents

                   18   regarding compliance or non-compliance with that Act, amendments or proposed amendments to

                   19   that Act, and correspondence with any government or elected official, their staff, or any lobbyist

                   20   organization concerning the same.

                   21   RESPONSE TO REQUEST FOR PRODUCTION NO. 15:

                   22          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   23   to Definitions and Instructions Numbers 3, 11, and 12, which Zoom incorporates by reference,

                   24   Zoom specifically objects that this Request is overly broad and seeks documents not relevant to the

                   25   claims and defenses in this case and not proportional to the needs of the case. Zoom further objects

                   26   to this Request as imposing on Zoom undue burden and expense. Zoom objects to this Request to

                   27   the extent it seeks documents protected by the attorney-client privilege or the work product

                   28   doctrine.
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                    1          Subject to the foregoing objections, Zoom has not conducted and will not conduct searches

                    2   for responsive documents, and, as a result, will not produce documents in response to this Request.

                    3   REQUEST FOR PRODUCTION NO. 16:

                    4          All Documents relating to the financial or technological feasibility or effect of compliance

                    5   with the CCPA.

                    6   RESPONSE TO REQUEST FOR PRODUCTION NO. 16:

                    7          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                    8   to Definitions and Instructions Number 3, which Zoom incorporates by reference, Zoom

                    9   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                   10   and defenses in this case and not proportional to the needs of the case. Zoom further objects to this

                   11   Request as imposing on Zoom undue burden and expense. Zoom objects to this Request to the

                   12   extent it seeks documents protected by the attorney-client privilege or the work product doctrine.

                   13          Subject to the foregoing objections, Zoom has not conducted and will not conduct searches

                   14   for responsive documents, and, as a result, will not produce documents in response to this Request.

                   15   REQUEST FOR PRODUCTION NO. 17:

                   16          All Documents relating to financial metric and/or business valuation of encryption

                   17   capabilities and implementation in connection with Your technologies.

                   18   RESPONSE TO REQUEST FOR PRODUCTION NO. 17:

                   19          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   20   to Definitions and Instructions Numbers 3 and 10, which Zoom incorporates by reference, Zoom

                   21   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                   22   and defenses in this case and not proportional to the needs of the case. Zoom further objects to this

                   23   Request as imposing on Zoom undue burden and expense. Zoom additionally objects that the

                   24   phrase “valuation of encryption capabilities and implementation” is vague and ambiguous and will

                   25   interpret that phrase to mean valuations of Zoom’s end-to-end encryption.

                   26            Subject to the foregoing objections, Zoom responds that it will meet and confer with

                   27   Plaintiffs about this Request.

                   28
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ATTORNEYS AT LAW                                                                        ZOOM’S RESPONSES AND OBJECTIONS TO
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                    1   REQUEST FOR PRODUCTION NO. 18:

                    2          All Documents relating to representations,           statements, announcements, and/or

                    3   correspondence made by Zoom to consumers regarding security and privacy protection of its

                    4   technology by its encryption capabilities including but not limited to end-to-end encryption.

                    5   RESPONSE TO REQUEST FOR PRODUCTION NO. 18:

                    6          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                    7   to Definitions and Instructions Numbers 3, 10, and 12 and General Response Number 3, which

                    8   Zoom incorporates by reference, Zoom specifically objects that this Request is overly broad and

                    9   seeks documents not relevant to the claims and defenses in this case and not proportional to the

                   10   needs of the case. Zoom further objects to this Request as imposing on Zoom undue burden and

                   11   expense.   Zoom additionally objects that the phrase “security and privacy protection of its

                   12   technology by its encryption capabilities” is vague, ambiguous, and unintelligible given the later

                   13   reference to employees.

                   14          Subject to the foregoing objections, Zoom will conduct a reasonable search and produce

                   15   responsive, non-privileged communications, if any, by Zoom to the public regarding Zoom’s end-

                   16   to-end encryption pursuant to the terms of a mutually agreeable protective order.

                   17   REQUEST FOR PRODUCTION NO. 19:

                   18          All Documents concerning Your encryption capabilities, including but not limited to Your

                   19   technical capacity to offer end-to-end encryption for Zoom video meetings, encryption of chat

                   20   messages, encryption white papers, ability of consumers to control their security keys,

                   21   representations regarding AES-256 encryption, Zoom’s decision to utilize an in-house

                   22   implementation of AES-128 encryption in electronic codebook (ECB) mode.

                   23   RESPONSE TO REQUEST FOR PRODUCTION NO. 19:

                   24          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   25   to Definitions and Instructions Numbers 4, 9, and 10 and General Response Number 3, which Zoom

                   26   incorporates by reference, Zoom specifically objects that this Request is overly broad and seeks

                   27   documents not relevant to the claims and defenses in this case and not proportional to the needs of

                   28   the case, including because it seeks documents regarding AES-256 and AES-128 encryption and
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                    1   chat messages. Zoom further objects to this Request as imposing on Zoom undue burden and

                    2   expense. Zoom objects to this Request to the extent it seeks documents protected by the attorney-

                    3   client privilege or the work product doctrine.

                    4          Subject to the foregoing objections, Zoom will conduct a reasonable search and produce

                    5   responsive, non-privileged documents, if any, sufficient to show Zoom’s end-to-end encryption

                    6   capabilities for meeting data and material changes to the end-to-end nature of Zoom’s end-to-end

                    7   encryption of meetings over time pursuant to the terms of a mutually agreeable protective order.

                    8   REQUEST FOR PRODUCTION NO. 20:

                    9          All documents concerning the evolution of encryption capability and implementation over

                   10   time and across access formats and systems such as but not limited to Zoom Meetings, Zoom Video

                   11   Webinars, Zoom Phone, SIP/H.323 room-based system endpoints, legacy systems, and “Zoom

                   12   Connectors.”

                   13   RESPONSE TO REQUEST FOR PRODUCTION NO. 20:

                   14          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   15   to Definitions and Instructions Numbers 4, 9, and 10 and General Response Number 3, which Zoom

                   16   incorporates by reference, Zoom specifically objects that this Request is overly broad and seeks

                   17   documents not relevant to the claims and defenses in this case and not proportional to the needs of

                   18   the case. Zoom further objects to this Request as imposing on Zoom undue burden and expense.

                   19   Zoom objects that the phrase “encryption capability and implementation over time and across

                   20   access formats and systems” is vague and ambiguous. Zoom will interpret that phrase to mean the

                   21   end-to-end nature of Zoom’s end-to-end encryption. Zoom further objects to this Request to the

                   22   extent it seeks documents protected by the attorney-client privilege or the work product doctrine.

                   23          Subject to the foregoing objections, Zoom will conduct a reasonable search and produce

                   24   responsive, non-privileged documents, if any, sufficient to show Zoom’s end-to-end encryption

                   25   capabilities for meeting data and material changes to the end-to-end nature of Zoom’s end-to-end

                   26   encryption of meetings over time pursuant to the terms of a mutually agreeable protective order.

                   27

                   28
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                    1   REQUEST FOR PRODUCTION NO. 21:

                    2          All logs, databases, or other Documents describing potential or actual data breaches, or

                    3   attempts by hackers or other unauthorized individuals or programs to access information contained

                    4   in Your Networks or information systems.

                    5   RESPONSE TO REQUEST FOR PRODUCTION NO. 21:

                    6          In addition to the foregoing Objections to Definitions and Instructions, which Zoom

                    7   incorporates by reference, Zoom specifically objects that this Request is overly broad and seeks

                    8   documents not relevant to the claims and defenses in this case and not proportional to the needs of

                    9   the case, including because the Complaint does not contain any allegations pertaining to data

                   10   breaches. Zoom further objects to this Request as imposing on Zoom undue burden and expense.

                   11   Zoom objects that the phrase “potential or actual data breaches” is vague and ambiguous. Zoom

                   12   further objects to this Request to the extent it seeks documents protected by the attorney-client

                   13   privilege or the work product doctrine.

                   14          Subject to the foregoing objections, Zoom has not conducted and will not conduct searches

                   15   for responsive documents, and, as a result, will not produce documents in response to this Request.

                   16   REQUEST FOR PRODUCTION NO. 22:

                   17          All Documents concerning Your knowledge and assessment of weaknesses, vulnerabilities,

                   18   breaches, and security risks in the Company’s cybersecurity and data protection systems related to

                   19   unauthorized access of Zoom users’ PII or PHI and their Zoom account information or credentials,

                   20   including but not limited to Zoom’s Security Whitepapers, Common Vulnerabilities and Exposures

                   21   (CVE) reports, National Vulnerability Database (NVD) reports, communications with security

                   22   researchers regarding such weaknesses and solutions thereto, payment of any “bug bounty” relating

                   23   to Zoom, and non-disclosure agreements with outside security researchers.

                   24   RESPONSE TO REQUEST FOR PRODUCTION NO. 22:

                   25          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   26   to Definitions and Instructions Number 4, which Zoom incorporates by reference, Zoom

                   27   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                   28   and defenses in this case and not proportional to the needs of the case, including because the
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                    1   Complaint does not contain any allegations pertaining to data breaches. Zoom further objects to

                    2   this Request as imposing on Zoom undue burden and expense. Zoom additionally objects to this

                    3   Request to the extent it seeks documents protected by the attorney-client privilege or the work

                    4   product doctrine.

                    5          Subject to the foregoing objections, Zoom has not conducted and will not conduct searches

                    6   for responsive documents, and, as a result, will not produce documents in response to this Request.

                    7   REQUEST FOR PRODUCTION NO. 23:

                    8          All Documents concerning the ability of malicious websites to take control of a Zoom user’s

                    9   screen and keyboard, enable a user’s camera, and/or install malware without permission, including,

                   10   but not limited to, those related to Zoom’s use of an installer bypass, the bundling of the Zoom

                   11   installer with malware, and Zoom not distinguishing between regular web addresses and remote

                   12   networking links such as Universal Naming Convention (UNC) path.

                   13   RESPONSE TO REQUEST FOR PRODUCTION NO. 23:

                   14          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   15   to Definitions and Instructions Number 4, which Zoom incorporates by reference, Zoom

                   16   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                   17   and defenses in this case and not proportional to the needs of the case, including because the

                   18   Complaint does not contain any allegations pertaining to malicious websites. Zoom further objects

                   19   to this Request as imposing on Zoom undue burden and expense. Zoom additionally objects to this

                   20   Request to the extent it seeks documents protected by the attorney-client privilege or the work

                   21   product doctrine.

                   22          Subject to the foregoing objections, Zoom has not conducted and will not conduct searches

                   23   for responsive documents, and, as a result, will not produce documents in response to this Request.

                   24   REQUEST FOR PRODUCTION NO. 24:

                   25          All Documents sufficient to identify the total number of possible persons whose information

                   26   was accessed, viewed, downloaded, copied, breached or compromised in any way in relation to a

                   27   data breach compromising Zoom accounts.

                   28
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                    1   RESPONSE TO REQUEST FOR PRODUCTION NO. 24:

                    2          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                    3   to Definitions and Instructions Number 3, which Zoom incorporates by reference, Zoom

                    4   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                    5   and defenses in this case and not proportional to the needs of the case, including because the

                    6   Complaint does not contain any allegations pertaining to data breaches. Zoom further objects to

                    7   this Request as imposing on Zoom undue burden and expense. Zoom additionally objects to this

                    8   Request to the extent it seeks documents protected by the attorney-client privilege or the work

                    9   product doctrine.

                   10          Subject to the foregoing objections, Zoom has not conducted and will not conduct searches

                   11   for responsive documents, and, as a result, will not produce documents in response to this Request.

                   12   REQUEST FOR PRODUCTION NO. 25:

                   13          All Documents concerning online vandalism and Your technologies, including, but not

                   14   limited to, an automated tool known as “zWarDial” or any tool allowing identification of and/or

                   15   access to Zoom meetings by would-be interlopers.

                   16   RESPONSE TO REQUEST FOR PRODUCTION NO. 25:

                   17          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   18   to Definitions and Instructions Numbers 4 and 9, which Zoom incorporates by reference, Zoom

                   19   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                   20   and defenses in this case and not proportional to the needs of the case. Zoom further objects to this

                   21   Request as imposing on Zoom undue burden and expense. Zoom additionally objects to this

                   22   Request to the extent it seeks documents protected by the attorney-client privilege or the work

                   23   product doctrine.

                   24          Subject to the foregoing objections, Zoom has not conducted and will not conduct searches

                   25   for responsive documents, and, as a result, will not produce documents in response to this Request.

                   26   REQUEST FOR PRODUCTION NO. 26:

                   27          All Documents concerning the material adverse effects on You as a result of the known

                   28   risks and weaknesses in Zoom’s cybersecurity and data protection systems, including, but not
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                    1   limited to, communications among the Board of Directors and members of Zoom’s senior

                    2   management team.

                    3   RESPONSE TO REQUEST FOR PRODUCTION NO. 26:

                    4          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                    5   to Definitions and Instructions Number 4, which Zoom incorporates by reference, Zoom

                    6   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                    7   and defenses in this case and not proportional to the needs of the case. Zoom further objects to this

                    8   Request as imposing on Zoom undue burden and expense. Zoom additionally objects to this

                    9   Request to the extent it seeks documents protected by the attorney-client privilege or the work

                   10   product doctrine.

                   11          Subject to the foregoing objections, Zoom has not conducted and will not conduct searches

                   12   for responsive documents, and, as a result, will not produce documents in response to this Request.

                   13   REQUEST FOR PRODUCTION NO. 27:

                   14          All Documents, including, but not limited to, any internal or external audits, analyses,

                   15   studies or reviews or recommendations performed by Zoom or any third party relating to Zoom’s

                   16   investigation of “Zoom Bombings” and “Zoom Raids” and any preventative methods or precautions

                   17   with regard to “Zoom Bombings” and “Zoom Raids” for users of Your technologies.

                   18   RESPONSE TO REQUEST FOR PRODUCTION NO. 27:

                   19          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   20   to Definitions and Instructions Number 3, which Zoom incorporates by reference, Zoom

                   21   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                   22   and defenses in this case and not proportional to the needs of the case. Zoom further objects to this

                   23   Request as imposing on Zoom undue burden and expense. Zoom additionally objects to this

                   24   Request to the extent it seeks documents protected by the attorney-client privilege or the work

                   25   product doctrine.

                   26          Subject to the foregoing objections, Zoom responds that it will meet and confer with

                   27   Plaintiffs about this Request.

                   28
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ATTORNEYS AT LAW                                                                        ZOOM’S RESPONSES AND OBJECTIONS TO
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                    1   REQUEST FOR PRODUCTION NO. 28:

                    2          All Documents concerning the ability of attackers to steal Microsoft Windows credentials

                    3   from Zoom users.

                    4   RESPONSE TO REQUEST FOR PRODUCTION NO. 28:

                    5          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                    6   to Definitions and Instructions Number 4, which Zoom incorporates by reference, Zoom

                    7   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                    8   and defenses in this case and not proportional to the needs of the case. Zoom further objects to this

                    9   Request as imposing on Zoom undue burden and expense. Zoom additionally objects to this

                   10   Request to the extent it seeks documents protected by the attorney-client privilege or the work

                   11   product doctrine.

                   12          Subject to the foregoing objections, Zoom has not conducted and will not conduct searches

                   13   for responsive documents, and, as a result, will not produce documents in response to this Request.

                   14   REQUEST FOR PRODUCTION NO. 29:

                   15          All Documents concerning Zoom Connectors for Cisco providing an access point for

                   16   attackers to control a Cisco video endpoint without obtaining authentication, including, but not

                   17   limited to, any communications with Cisco about Cisco’s standards concerning enterprise-grade

                   18   security.

                   19   RESPONSE TO REQUEST FOR PRODUCTION NO. 29:

                   20          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   21   to Definitions and Instructions Numbers 4 and 12, which Zoom incorporates by reference, Zoom

                   22   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                   23   and defenses in this case and not proportional to the needs of the case. Zoom further objects to this

                   24   Request as imposing on Zoom undue burden and expense. Zoom additionally objects to this

                   25   Request to the extent it seeks documents protected by the attorney-client privilege or the work

                   26   product doctrine.

                   27          Subject to the foregoing objections, Zoom has not conducted and will not conduct searches

                   28   for responsive documents, and, as a result, will not produce documents in response to this Request.
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ATTORNEYS AT LAW                                                                        ZOOM’S RESPONSES AND OBJECTIONS TO
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                    1   REQUEST FOR PRODUCTION NO. 30:

                    2          All Documents concerning the decision and design process to enable users to make

                    3   recordings or transcripts of Zoom meetings.

                    4   RESPONSE TO REQUEST FOR PRODUCTION NO. 30:

                    5          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                    6   to Definitions and Instructions Numbers 4 and 9, which Zoom incorporates by reference, Zoom

                    7   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                    8   and defenses in this case and not proportional to the needs of the case. Zoom further objects to this

                    9   Request as imposing on Zoom undue burden and expense. Zoom additionally objects to this

                   10   Request to the extent it seeks documents protected by the attorney-client privilege or the work

                   11   product doctrine.

                   12          Subject to the foregoing objections, Zoom has not conducted and will not conduct searches

                   13   for responsive documents, and, as a result, will not produce documents in response to this Request.

                   14   REQUEST FOR PRODUCTION NO. 31:

                   15          All Documents, including Communications, concerning transcripts of Zoom meetings that

                   16   have recorded or could record the content of chat discussions by users without their knowledge.

                   17   RESPONSE TO REQUEST FOR PRODUCTION NO. 31:

                   18          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   19   to Definitions and Instructions Numbers 4 and 9, which Zoom incorporates by reference, Zoom

                   20   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                   21   and defenses in this case and not proportional to the needs of the case. Zoom further objects to this

                   22   Request as imposing on Zoom undue burden and expense. Zoom additionally objects to this

                   23   Request to the extent it seeks documents protected by the attorney-client privilege or the work

                   24   product doctrine.

                   25          Subject to the foregoing objections, Zoom has not conducted and will not conduct searches

                   26   for responsive documents, and, as a result, will not produce documents in response to this Request.

                   27

                   28
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ATTORNEYS AT LAW                                                                        ZOOM’S RESPONSES AND OBJECTIONS TO
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                    1   REQUEST FOR PRODUCTION NO. 32:

                    2          All Documents, including Communications, concerning design, implementation, and

                    3   removal of Zoom’s attention tracking feature.

                    4   RESPONSE TO REQUEST FOR PRODUCTION NO. 32:

                    5          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                    6   to Definitions and Instructions Number 4, which Zoom incorporates by reference, Zoom

                    7   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                    8   and defenses in this case and not proportional to the needs of the case. Zoom further objects to this

                    9   Request as imposing on Zoom undue burden and expense. Zoom additionally objects to this

                   10   Request to the extent it seeks documents protected by the attorney-client privilege or the work

                   11   product doctrine.

                   12          Subject to the foregoing objections, Zoom has not conducted and will not conduct searches

                   13   for responsive documents, and, as a result, will not produce documents in response to this Request.

                   14   REQUEST FOR PRODUCTION NO. 33:

                   15          All Documents describing how transcripts of Zoom meetings are, would be, or have been

                   16   generated, stored, and/or distributed.

                   17   RESPONSE TO REQUEST FOR PRODUCTION NO. 33:

                   18          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   19   to Definitions and Instructions Number 9, which Zoom incorporates by reference, Zoom

                   20   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                   21   and defenses in this case and not proportional to the needs of the case. Zoom further objects to this

                   22   Request as imposing on Zoom undue burden and expense. Zoom additionally objects to this

                   23   Request to the extent it seeks documents protected by the attorney-client privilege or the work

                   24   product doctrine.

                   25          Subject to the foregoing objections, Zoom has not conducted and will not conduct searches

                   26   for responsive documents, and, as a result, will not produce documents in response to this Request.

                   27

                   28
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ATTORNEYS AT LAW                                                                        ZOOM’S RESPONSES AND OBJECTIONS TO
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                    1   REQUEST FOR PRODUCTION NO. 34:

                    2          All Documents describing how transcripts of Zoom meetings are, would be, or have been

                    3   used by Zoom, including but not limited to the training or development of artificial intelligence

                    4   systems.

                    5   RESPONSE TO REQUEST FOR PRODUCTION NO. 34:

                    6          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                    7   to Definitions and Instructions Number 9, which Zoom incorporates by reference, Zoom

                    8   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                    9   and defenses in this case and not proportional to the needs of the case. Zoom further objects to this

                   10   Request as imposing on Zoom undue burden and expense. Zoom additionally objects to this

                   11   Request to the extent it seeks documents protected by the attorney-client privilege or the work

                   12   product doctrine.

                   13          Subject to the foregoing objections, Zoom has not conducted and will not conduct searches

                   14   for responsive documents, and, as a result, will not produce documents in response to this Request.

                   15   REQUEST FOR PRODUCTION NO. 35:

                   16          All Documents, including subpoenas, other compulsory process, civil investigative

                   17   demands, correspondence, or any other requests for information made to Zoom or received by

                   18   Zoom from any regulator or government entity, whether state, federal, or in a foreign country

                   19   (including, but not limited to, any committee of the United States House of Representatives or

                   20   Senate; the United States Department of Justice; the United States Securities and Exchange

                   21   Commission; the United States Federal Trade Commission; any State Attorney General or State

                   22   agency; and the United States Federal Bureau of Investigation), relating to any matter alleged in

                   23   the operative complaint in this action.

                   24   RESPONSE TO REQUEST FOR PRODUCTION NO. 35:

                   25          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   26   to Definitions and Instructions Numbers 3, 11, and 12, which Zoom incorporates by reference,

                   27   Zoom specifically objects that this Request is overly broad and seeks documents not relevant to the

                   28   claims and defenses in this case and not proportional to the needs of the case, including because it
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                    1   seeks documents relating to proceedings in foreign countries. Zoom further objects that production

                    2   of documents relating to such proceedings, if any, could raise sovereignty and potential national

                    3   security concerns. Zoom further objects to this Request as imposing on Zoom undue burden and

                    4   expense. Zoom additionally objects to this Request to the extent it seeks documents protected by

                    5   the attorney-client privilege or the work product doctrine.

                    6          Subject to the foregoing objections, Zoom has not conducted and will not conduct searches

                    7   for responsive documents, and, as a result, will not produce documents in response to this Request.

                    8   REQUEST FOR PRODUCTION NO. 36:

                    9          All Documents provided by You to any regulator or governmental entity, whether state,

                   10   federal, or foreign, relating to any matter alleged in the operative complaint in this action.

                   11   RESPONSE TO REQUEST FOR PRODUCTION NO. 36:

                   12          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   13   to Definitions and Instructions Numbers 3, 11, and 12, which Zoom incorporates by reference,

                   14   Zoom specifically objects that this Request is overly broad and seeks documents not relevant to the

                   15   claims and defenses in this case and not proportional to the needs of the case, including because it

                   16   seeks documents relating to proceedings in foreign countries. Zoom further objects that production

                   17   of documents relating to such proceedings, if any, could raise sovereignty and potential national

                   18   security concerns. Zoom further objects to this Request as imposing on Zoom undue burden and

                   19   expense. Zoom additionally objects to this Request to the extent it seeks documents protected by

                   20   the attorney-client privilege or the work product doctrine.

                   21          Subject to the foregoing objections, Zoom has not conducted and will not conduct searches

                   22   for responsive documents, and, as a result, will not produce documents in response to this Request.

                   23   REQUEST FOR PRODUCTION NO. 37:

                   24          All Communications with any regulator or governmental entity, whether state, federal, or

                   25   foreign, relating to any matter alleged in the operative complaint in this action.

                   26   RESPONSE TO REQUEST FOR PRODUCTION NO. 37:

                   27          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   28   to Definitions and Instructions Numbers 3, 11, and 12, which Zoom incorporates by reference,
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ATTORNEYS AT LAW                                                                         ZOOM’S RESPONSES AND OBJECTIONS TO
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                    1   Zoom specifically objects that this Request is overly broad and seeks documents not relevant to the

                    2   claims and defenses in this case and not proportional to the needs of the case, including because it

                    3   seeks documents relating to proceedings in foreign countries. Zoom further objects that production

                    4   of documents relating to such proceedings, if any, could raise sovereignty and potential national

                    5   security concerns. Zoom additionally objects to this Request as imposing on Zoom undue burden

                    6   and expense. Zoom also objects to this Request to the extent it seeks documents protected by the

                    7   attorney-client privilege or the work product doctrine.

                    8           Subject to the foregoing objections, Zoom has not conducted and will not conduct searches

                    9   for responsive documents, and, as a result, will not produce documents in response to this Request.

                   10   REQUEST FOR PRODUCTION NO. 38:

                   11           All Documents including document requests, interrogatories, subpoenas, or any other form

                   12   of written discovery served on Zoom (or otherwise received by Zoom) in any litigation, whether in

                   13   a state or federal court action, or in a case in a foreign country, relating to any matter alleged in the

                   14   operative complaint in this action.

                   15   RESPONSE TO REQUEST FOR PRODUCTION NO. 38:

                   16           In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   17   to Definitions and Instructions Numbers 3, 11, and 12, which Zoom incorporates by reference,

                   18   Zoom specifically objects that this Request is overly broad and seeks documents not relevant to the

                   19   claims and defenses in this case and not proportional to the needs of the case, including because it

                   20   seeks documents relating to proceedings in foreign countries. Zoom further objects that production

                   21   of documents relating to such proceedings, if any, could raise sovereignty and potential national

                   22   security concerns. Zoom additionally objects to this Request as imposing on Zoom undue burden

                   23   and expense. Zoom also objects to this Request to the extent it seeks documents protected by the

                   24   attorney-client privilege or the work product doctrine.

                   25           Subject to the foregoing objections, Zoom responds that no responsive documents exist.

                   26   REQUEST FOR PRODUCTION NO. 39:

                   27           All Documents, including all transcripts or recordings of proceedings, depositions, or

                   28   interviews, arising out of a state or federal court action; a case in a foreign country; or a case,
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ATTORNEYS AT LAW                                                                          ZOOM’S RESPONSES AND OBJECTIONS TO
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                    1   proceeding, investigation, or inquiry made by any regulator or government entity, whether state,

                    2   federal, or in a foreign country, relating to Zoom’s security or privacy policies or practices.

                    3   RESPONSE TO REQUEST FOR PRODUCTION NO. 39:

                    4          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                    5   to Definitions and Instructions Numbers 3, 11, and 12, which Zoom incorporates by reference,

                    6   Zoom specifically objects that this Request is overly broad and seeks documents not relevant to the

                    7   claims and defenses in this case and not proportional to the needs of the case, including because it

                    8   seeks documents relating to proceedings in foreign countries. Zoom further objects that production

                    9   of documents relating to such proceedings, if any, could raise sovereignty and potential national

                   10   security concerns. Zoom additionally objects to this Request as imposing on Zoom undue burden

                   11   and expense. Zoom also objects to this Request to the extent it seeks documents protected by the

                   12   attorney-client privilege or the work product doctrine.

                   13          Subject to the foregoing objections, Zoom has not conducted and will not conduct searches

                   14   for responsive documents, and, as a result, will not produce documents in response to this Request.

                   15   REQUEST FOR PRODUCTION NO. 40:

                   16          All Documents relating to civil litigation against Zoom brought by the Electronic Privacy

                   17   Information Center, including but not limited to the complaint filed before the U.S. Federal Trade

                   18   Commission on July 11, 2019, bringing claims under Section 5 of the FTC Act related to privacy

                   19   and security risks.

                   20   RESPONSE TO REQUEST FOR PRODUCTION NO. 40:

                   21          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   22   to Definitions and Instructions Numbers 3, 11, and 12, which Zoom incorporates by reference,

                   23   Zoom specifically objects that this Request is overly broad and seeks documents not relevant to the

                   24   claims and defenses in this case and not proportional to the needs of the case. Zoom additionally

                   25   objects to this Request as imposing on Zoom undue burden and expense. Zoom also objects to this

                   26   Request to the extent it seeks documents protected by the attorney-client privilege or the work

                   27   product doctrine.

                   28
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ATTORNEYS AT LAW                                                                         ZOOM’S RESPONSES AND OBJECTIONS TO
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                    1           Subject to the foregoing objections, Zoom has not conducted and will not conduct searches

                    2   for responsive documents, and, as a result, will not produce documents in response to this Request.

                    3   REQUEST FOR PRODUCTION NO. 41:

                    4           All Documents, including, but not limited to, any reports, analyses or studies that reflect,

                    5   refer, or relate to the sale, transfer, or exchange of personal data collected by Zoom, and/or the

                    6   creation of derivative data from personal data collected by Zoom.

                    7   RESPONSE TO REQUEST FOR PRODUCTION NO. 41:

                    8           In addition to the foregoing Objections to Definitions and Instructions, including Objections

                    9   to Definitions and Instructions Number 3, which Zoom incorporates by reference, Zoom

                   10   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                   11   and defenses in this case and not proportional to the needs of the case. Zoom additionally objects

                   12   to this Request as imposing on Zoom undue burden and expense. Zoom also objects that the phrase

                   13   “exchange of personal data collected by Zoom, and/or the creation of derivative data from personal

                   14   data collected by Zoom” is vague and ambiguous.

                   15           Subject to the foregoing objections, Zoom responds that it will meet and confer with

                   16   Plaintiffs about this Request.

                   17   REQUEST FOR PRODUCTION NO. 42:

                   18           All Documents concerning and/or related to privacy, personal information, and security

                   19   risks specifically associated with making PII and PHI available to third parties, including, but not

                   20   limited to, all communications between Zoom Board of Directors and Zoom’s senior management

                   21   team.

                   22   RESPONSE TO REQUEST FOR PRODUCTION NO. 42:

                   23           In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   24   to Definitions and Instructions Number 3, which Zoom incorporates by reference, Zoom

                   25   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                   26   and defenses in this case and not proportional to the needs of the case. Zoom further objects to this

                   27   Request as imposing on Zoom undue burden and expense. Zoom also objects that the phrases

                   28   “privacy, personal information, and security risks” and “making PII and PHI available to third
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ATTORNEYS AT LAW                                                                        ZOOM’S RESPONSES AND OBJECTIONS TO
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                    1   parties” are vague, ambiguous, and unintelligible. Zoom further objects to this Request to the extent

                    2   it seeks documents that are not in Zoom’s possession, control, or custody. Zoom additionally

                    3   objects to this Request to the extent it seeks documents protected by the attorney-client privilege

                    4   or the work product doctrine.

                    5           Subject to the foregoing objections, Zoom responds that it will meet and confer with

                    6   Plaintiffs about this Request.

                    7   REQUEST FOR PRODUCTION NO. 43:

                    8           All Documents concerning Your sharing or delivery of PII to third parties such as Facebook

                    9   or Google, including but not limited to unauthorized disclosures to date and investigations of such

                   10   vulnerabilities.

                   11   RESPONSE TO REQUEST FOR PRODUCTION NO. 43:

                   12           In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   13   to Definitions and Instructions Number 4, which Zoom incorporates by reference, Zoom

                   14   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                   15   and defenses in this case and not proportional to the needs of the case, including because Plaintiffs

                   16   have not alleged any personal connection to or harm from the alleged third-party data sharing.

                   17   Zoom further objects to this Request as imposing on Zoom undue burden and expense. Zoom

                   18   further objects to this Request to the extent it seeks documents that are not in Zoom’s possession,

                   19   control, or custody. Zoom additionally objects to this Request to the extent it seeks documents

                   20   protected by the attorney-client privilege or the work product doctrine.

                   21           Subject to the foregoing objections, Zoom responds that it will meet and confer with

                   22   Plaintiffs about this Request.

                   23   REQUEST FOR PRODUCTION NO. 44:

                   24           All Documents concerning arrangements such as data sharing partnerships and benefit(s) to

                   25   Zoom in connection with providing or otherwise making available analytics data and other

                   26   information from and about Zoom users to third parties including but not limited to Google,

                   27   Facebook, and LinkedIn.

                   28
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ATTORNEYS AT LAW                                                                        ZOOM’S RESPONSES AND OBJECTIONS TO
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                    1   RESPONSE TO REQUEST FOR PRODUCTION NO. 44:

                    2          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                    3   to Definitions and Instructions Number 4, which Zoom incorporates by reference, Zoom

                    4   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                    5   and defenses in this case and not proportional to the needs of the case, including because Plaintiffs

                    6   have not alleged any personal connection to or harm from the alleged third-party data sharing.

                    7   Zoom further objects to this Request as imposing on Zoom undue burden and expense. Zoom

                    8   further objects to this Request to the extent it seeks documents that are not in Zoom’s possession,

                    9   control, or custody. Zoom further objects that the phrases “arrangements such as data sharing

                   10   partnerships and benefit(s) to Zoom in connection with providing or otherwise making available

                   11   analytics data and other information” and “making available” are vague and ambiguous. Zoom

                   12   additionally objects to this Request to the extent it seeks documents protected by the attorney-client

                   13   privilege or the work product doctrine.

                   14          Subject to the foregoing objections, Zoom responds that it will meet and confer with

                   15   Plaintiffs about this Request.

                   16   REQUEST FOR PRODUCTION NO. 45:

                   17          All Documents concerning the statement in Your privacy policy dated March 29, 2019 that

                   18   “We do not allow marketing companies, advertisers or similar companies to access personal data

                   19   in exchange for payment. We do not allow third parties to use any personal data obtained from us

                   20   for their own purposes, unless you consent (e.g., when you download an app from the

                   21   Marketplace).”

                   22   RESPONSE TO REQUEST FOR PRODUCTION NO. 45:

                   23          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   24   to Definitions and Instructions Number 4, which Zoom incorporates by reference, Zoom

                   25   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                   26   and defenses in this case and not proportional to the needs of the case. Zoom further objects to this

                   27   Request as imposing on Zoom undue burden and expense. Zoom further objects to this Request to

                   28   the extent it seeks documents that are not in Zoom’s possession, control, or custody. Zoom
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ATTORNEYS AT LAW                                                                        ZOOM’S RESPONSES AND OBJECTIONS TO
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                    1   additionally objects to this Request to the extent it seeks documents protected by the attorney-client

                    2   privilege or the work product doctrine.

                    3          Subject to the foregoing objections, Zoom responds that it will meet and confer with

                    4   Plaintiffs about this Request.

                    5   REQUEST FOR PRODUCTION NO. 46:

                    6          All Communications with Facebook concerning PII or Your users’ login information.

                    7   RESPONSE TO REQUEST FOR PRODUCTION NO. 46:

                    8          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                    9   to Definitions and Instructions Number 4, which Zoom incorporates by reference, Zoom

                   10   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                   11   and defenses in this case and not proportional to the needs of the case, including because Plaintiffs

                   12   have not alleged any personal connection to or harm from the alleged third-party data sharing.

                   13   Zoom further objects to this Request as imposing on Zoom undue burden and expense. Zoom

                   14   additionally objects that the phrase “PII or Your users’ login information” is vague and ambiguous.

                   15          Subject to the foregoing objections, Zoom responds that it will meet and confer with

                   16   Plaintiffs about this Request.

                   17   REQUEST FOR PRODUCTION NO. 47:

                   18          All Communications with LinkedIn concerning PII or Your users’ login information.

                   19   RESPONSE TO REQUEST FOR PRODUCTION NO. 47:

                   20          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   21   to Definitions and Instructions Number 4, which Zoom incorporates by reference, Zoom

                   22   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                   23   and defenses in this case and not proportional to the needs of the case, including because Plaintiffs

                   24   have not alleged any personal connection to or harm from the alleged third-party data sharing.

                   25   Zoom further objects to this Request as imposing on Zoom undue burden and expense. Zoom

                   26   additionally objects that the phrase “PII or Your users’ login information” is vague and ambiguous.

                   27          Subject to the foregoing objections, Zoom responds that it will meet and confer with

                   28   Plaintiffs about this Request.
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ATTORNEYS AT LAW                                                                        ZOOM’S RESPONSES AND OBJECTIONS TO
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                    1   REQUEST FOR PRODUCTION NO. 48:

                    2            All Communications with Google concerning PII or Your users’ login information.

                    3   RESPONSE TO REQUEST FOR PRODUCTION NO. 48:

                    4            In addition to the foregoing Objections to Definitions and Instructions, including Objections

                    5   to Definitions and Instructions Number 4, which Zoom incorporates by reference, Zoom

                    6   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                    7   and defenses in this case and not proportional to the needs of the case, including because Plaintiffs

                    8   have not alleged any personal connection to or harm from the alleged third-party data sharing.

                    9   Zoom further objects to this Request as imposing on Zoom undue burden and expense. Zoom

                   10   additionally objects that the phrase “PII or Your users’ login information” is vague and ambiguous.

                   11            Subject to the foregoing objections, Zoom responds that it will meet and confer with

                   12   Plaintiffs about this Request.

                   13   REQUEST FOR PRODUCTION NO. 49:

                   14            All Communications with Otter.ai, Inc.

                   15   RESPONSE TO REQUEST FOR PRODUCTION NO. 49:

                   16            In addition to the foregoing Objections to Definitions and Instructions, which Zoom

                   17   incorporates by reference, Zoom specifically objects that this Request is overly broad and seeks

                   18   documents not relevant to the claims and defenses in this case and not proportional to the needs of

                   19   the case. Zoom further objects to this Request as imposing on Zoom undue burden and expense.

                   20            Subject to the foregoing objections, Zoom has not conducted and will not conduct searches

                   21   for responsive documents, and, as a result, will not produce documents in response to this request.

                   22   REQUEST FOR PRODUCTION NO. 50:

                   23            All Documents concerning Communication of Your users’ login information to any third

                   24   party.

                   25   RESPONSE TO REQUEST FOR PRODUCTION NO. 50:

                   26            In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   27   to Definitions and Instructions Number 4, which Zoom incorporates by reference, Zoom

                   28   specifically objects that this Request is overly broad and seeks documents not relevant to the claims
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ATTORNEYS AT LAW                                                                         ZOOM’S RESPONSES AND OBJECTIONS TO
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                    1   and defenses in this case and not proportional to the needs of the case, including because Plaintiffs

                    2   have not alleged any personal connection to or harm from the alleged third-party data sharing.

                    3   Zoom further objects to this Request as imposing on Zoom undue burden and expense. Zoom

                    4   additionally objects to this Request to the extent it seeks documents protected by the attorney-client

                    5   privilege or the work product doctrine.

                    6           Subject to the foregoing objections, Zoom responds that it will meet and confer with

                    7   Plaintiffs about this Request.

                    8   REQUEST FOR PRODUCTION NO. 51:

                    9           All Documents concerning Your development of, or cooperation in the development of,

                   10   artificial intelligence.

                   11   RESPONSE TO REQUEST FOR PRODUCTION NO. 51:

                   12           In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   13   to Definitions and Instructions Number 4, which Zoom incorporates by reference, Zoom

                   14   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                   15   and defenses in this case and not proportional to the needs of the case. Zoom further objects to this

                   16   request as imposing on Zoom undue burden and expense.

                   17           Subject to the foregoing objections, Zoom has not conducted and will not conduct searches

                   18   for responsive documents, and, as a result, will not produce documents in response to this request.

                   19   REQUEST FOR PRODUCTION NO. 52:

                   20           All Documents concerning potential or actual use of artificial intelligence by You, including

                   21   tools that allow Zoom users to use any artificial intelligence tools in connection with their Zoom

                   22   meetings.

                   23   RESPONSE TO REQUEST FOR PRODUCTION NO. 52:

                   24           In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   25   to Definitions and Instructions Numbers 4 and 9, which Zoom incorporates by reference, Zoom

                   26   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                   27   and defenses in this case and not proportional to the needs of the case.   Zoom further objects that

                   28   the phrases “potential or actual use of artificial intelligence” and “tools that allow Zoom users to
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ATTORNEYS AT LAW                                                                        ZOOM’S RESPONSES AND OBJECTIONS TO
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                    1   use any artificial intelligence tools in connection with their Zoom meetings” are vague and

                    2   ambiguous.

                    3          Subject to the foregoing objections, Zoom has not conducted and will not conduct searches

                    4   for responsive documents, and, as a result, will not produce documents in response to this request.

                    5   REQUEST FOR PRODUCTION NO. 53:

                    6          All Documents evidencing architecture maps, diagrams and flow charts concerning Your

                    7   Networks and information systems that share data, in any way, with third party servers including

                    8   but not limited to Facebook, Google, LinkedIn, Amazon, or any other advertising, analytics, or

                    9   social media platform.

                   10   RESPONSE TO REQUEST FOR PRODUCTION NO. 53:

                   11          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   12   to Definitions and Instructions Number 4, which Zoom incorporates by reference, Zoom

                   13   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                   14   and defenses in this case and not proportional to the needs of the case, including because Plaintiffs

                   15   have not alleged any personal connection to or harm from the alleged third-party data sharing.

                   16   Zoom further objects that the phrases “architecture maps, diagrams and flow charts concerning

                   17   Your Networks and information systems” and “with third party servers” are vague and ambiguous.

                   18          Subject to the foregoing objections, Zoom responds that it will meet and confer with

                   19   Plaintiffs about this Request.

                   20   REQUEST FOR PRODUCTION NO. 54:

                   21          All Documents evidencing architecture maps, diagrams and flow charts concerning Your

                   22   Networks and information systems that maintain or that transmit PII or Your users’ login

                   23   information.

                   24   RESPONSE TO REQUEST FOR PRODUCTION NO. 54:

                   25          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   26   to Definitions and Instructions Number 4, which Zoom incorporates by reference, Zoom

                   27   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                   28   and defenses in this case and not proportional to the needs of the case, including because Plaintiffs
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ATTORNEYS AT LAW                                                                        ZOOM’S RESPONSES AND OBJECTIONS TO
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                    1   have not alleged any personal connection to or harm from the alleged third-party data sharing.

                    2   Zoom further objects that the phrase “maintain or transmit PII or Your users’ login information” is

                    3   vague and ambiguous.

                    4           Subject to the foregoing objections, Zoom responds that it will meet and confer with

                    5   Plaintiffs about this Request.

                    6   REQUEST FOR PRODUCTION NO. 55:

                    7           All Documents regarding changes made to Your Network controls and Network security.

                    8   RESPONSE TO REQUEST FOR PRODUCTION NO. 55:

                    9           In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   10   to Definitions and Instructions Number 3, which Zoom incorporates by reference, Zoom

                   11   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                   12   and defenses in this case and not proportional to the needs of the case. Zoom further objects to this

                   13   Request as imposing on Zoom undue burden and expense. Zoom additionally objects that the

                   14   phrase “Your Network controls and Network security” is vague and ambiguous. Zoom objects to

                   15   this Request to the extent it seeks documents protected by the attorney-client privilege or the work

                   16   product doctrine.

                   17           Subject to the foregoing objections, Zoom responds that it will meet and confer with

                   18   Plaintiffs about this Request.

                   19   REQUEST FOR PRODUCTION NO. 56:

                   20           All Documents concerning Zoom’s use of the Facebook SDK across clients including but

                   21   not limited to Zoom’s decision to remove the Facebook SDK in the iOS client and “reconfigure”

                   22   the feature.

                   23   RESPONSE TO REQUEST FOR PRODUCTION NO. 56:

                   24           In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   25   to Definitions and Instructions Number 4, which Zoom incorporates by reference, Zoom

                   26   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                   27   and defenses in this case and not proportional to the needs of the case. Zoom further objects to this

                   28   Request as imposing on Zoom undue burden and expense. Zoom additionally objects that the
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ATTORNEYS AT LAW                                                                        ZOOM’S RESPONSES AND OBJECTIONS TO
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                    1   phrase “across clients” is vague and ambiguous. Zoom objects to this Request to the extent it seeks

                    2   documents protected by the attorney-client privilege or the work product doctrine.

                    3          Subject to the foregoing objections, Zoom responds that it will meet and confer with

                    4   Plaintiffs about this Request.

                    5   REQUEST FOR PRODUCTION NO. 57:

                    6          All documents concerning Zoom’s internal and external Network traffic auditing

                    7   procedures and policies including deep packet inspection.

                    8   RESPONSE TO REQUEST FOR PRODUCTION NO. 57:

                    9          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   10   to Definitions and Instructions Number 4, which Zoom incorporates by reference, Zoom

                   11   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                   12   and defenses in this case and not proportional to the needs of the case. Zoom further objects to this

                   13   Request as imposing on Zoom undue burden and expense. Zoom additionally objects that the

                   14   phrase “internal and external traffic auditing procedures and policies including deep packet

                   15   inspection” is vague, ambiguous, and unintelligible.

                   16          Subject to the foregoing objections, Zoom has not conducted and will not conduct searches

                   17   for responsive documents, and, as a result, will not produce documents in response to this Request.

                   18   REQUEST FOR PRODUCTION NO. 58:

                   19          All Documents concerning the use, capabilities, functionality and application of LinkedIn

                   20   Sales Navigator on the Zoom platform.

                   21   RESPONSE TO REQUEST FOR PRODUCTION NO. 58:

                   22          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   23   to Definitions and Instructions Number 4, which Zoom incorporates by reference, Zoom

                   24   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                   25   and defenses in this case and not proportional to the needs of the case. Zoom further objects to this

                   26   Request as imposing on Zoom undue burden and expense. Zoom additionally objects that the

                   27   phrase “use, capabilities, functionality, and application” is vague and ambiguous.

                   28          Subject to the foregoing objections, Zoom responds that it will meet and confer with
COOLEY LLP
ATTORNEYS AT LAW                                                                        ZOOM’S RESPONSES AND OBJECTIONS TO
 SAN FRANCISCO                                                           37                    PLAINTIFFS’ FIRST SET OF RFPS
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                    1   Plaintiffs about this Request.

                    2   REQUEST FOR PRODUCTION NO. 59:

                    3          All Documents concerning the retention or disposition of any information or list generated

                    4   by or for the LinkedIn Sales Navigator on the Zoom platform.

                    5   RESPONSE TO REQUEST FOR PRODUCTION NO. 59:

                    6          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                    7   to Definitions and Instructions Number 4, which Zoom incorporates by reference, Zoom

                    8   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                    9   and defenses in this case and not proportional to the needs of the case. Zoom further objects to this

                   10   Request as imposing on Zoom undue burden and expense. Zoom additionally objects that the

                   11   phrase “retention or disposition” is vague and ambiguous.

                   12          Subject to the foregoing objections, Zoom responds that it will meet and confer with

                   13   Plaintiffs about this Request.

                   14   REQUEST FOR PRODUCTION NO. 60:

                   15          All Documents relating to whether Zoom obtained consent from any user, including, but

                   16   not limited to, Plaintiffs, to have their PII and/or PHI collected and/or provided to third parties.

                   17   RESPONSE TO REQUEST FOR PRODUCTION NO. 60:

                   18          In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   19   to Definitions and Instructions Number 3, which Zoom incorporates by reference, Zoom

                   20   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                   21   and defenses in this case and not proportional to the needs of the case. Zoom further objects to this

                   22   Request as imposing on Zoom undue burden and expense. Zoom additionally objects to this

                   23   Request to the extent it seeks documents protected by the attorney-client privilege or the work

                   24   product doctrine.

                   25          Subject to the foregoing objections, Zoom responds that it will meet and confer with

                   26   Plaintiffs about this Request.

                   27

                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                         ZOOM’S RESPONSES AND OBJECTIONS TO
 SAN FRANCISCO                                                            38                    PLAINTIFFS’ FIRST SET OF RFPS
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                    1   REQUEST FOR PRODUCTION NO. 61:

                    2           All Documents concerning the use of any information gathered for purposes of digital

                    3   “fingerprinting,” or the process by which websites and applications can discern that a device

                    4   belongs to a particular user based on system configurations, whether by you or any third party.

                    5   RESPONSE TO REQUEST FOR PRODUCTION NO. 61:

                    6           In addition to the foregoing Objections to Definitions and Instructions, including Objections

                    7   to Definitions and Instructions Number 4, which Zoom incorporates by reference, Zoom

                    8   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                    9   and defenses in this case and not proportional to the needs of the case. Zoom further objects to this

                   10   Request as imposing on Zoom undue burden and expense. Zoom additionally objects to this

                   11   Request to the extent it seeks documents that are not in Zoom’s possession, control, or custody.

                   12           Subject to the foregoing objections, Zoom has not conducted and will not conduct searches

                   13   for responsive documents, and, as a result, will not produce documents in response to this Request.

                   14   REQUEST FOR PRODUCTION NO. 62:

                   15           All Documents related to the Zoom blog post by Eric Yuan titled “Zoom’s Use of

                   16   Facebook’s SDK in iOS Client” and dated March 27, 2020, including but not limited any Document

                   17   reviewed or referenced by any person who authored, revised or commented on any draft of that

                   18   blog post.

                   19   RESPONSE TO REQUEST FOR PRODUCTION NO. 62:

                   20           In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   21   to Definitions and Instructions Number 3, which Zoom incorporates by reference, Zoom

                   22   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                   23   and defenses in this case and not proportional to the needs of the case. Zoom further objects to this

                   24   Request as imposing on Zoom undue burden and expense. Zoom also objects to this request to the

                   25   extent it seeks documents protected by the attorney-client privilege or the work product doctrine.

                   26           Subject to the foregoing objections, Zoom responds that it will meet and confer with

                   27   Plaintiffs about this request.

                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                        ZOOM’S RESPONSES AND OBJECTIONS TO
 SAN FRANCISCO                                                           39                    PLAINTIFFS’ FIRST SET OF RFPS
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                    1   REQUEST FOR PRODUCTION NO. 63:

                    2           All Documents related to the Zoom blog post by Aparna Bawa titled “Zoom’s Privacy

                    3   Policy” and dated March 29, 2020, including but not limited any Documents reviewed or referenced

                    4   by any person who authored, revised or commented on any draft of that blog post.

                    5   RESPONSE TO REQUEST FOR PRODUCTION NO. 63:

                    6           In addition to the foregoing Objections to Definitions and Instructions, including Objections

                    7   to Definitions and Instructions Number 3, which Zoom incorporates by reference, Zoom

                    8   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                    9   and defenses in this case and not proportional to the needs of the case. Zoom further objects to this

                   10   Request as imposing on Zoom undue burden and expense. Zoom also objects to this request to the

                   11   extent it seeks documents protected by the attorney-client privilege or the work product doctrine.

                   12           Subject to the foregoing objections, Zoom responds that it will meet and confer with

                   13   Plaintiffs about this request.

                   14   REQUEST FOR PRODUCTION NO. 64:

                   15           All Documents related to the Zoom blog post by Eric Yuan titled “A Message to Our Users”

                   16   and dated April 1, 2020, including but not limited any Documents reviewed or referenced by any

                   17   person who authored, revised or commented on any draft of that blog post.

                   18   RESPONSE TO REQUEST FOR PRODUCTION NO. 64:

                   19           In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   20   to Definitions and Instructions Number 3, which Zoom incorporates by reference, Zoom

                   21   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                   22   and defenses in this case and not proportional to the needs of the case. Zoom further objects to this

                   23   Request as imposing on Zoom undue burden and expense. Zoom also objects to this request to the

                   24   extent it seeks documents protected by the attorney-client privilege or the work product doctrine.

                   25           Subject to the foregoing objections, Zoom responds that it will meet and confer with

                   26   Plaintiffs about this request.

                   27

                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                        ZOOM’S RESPONSES AND OBJECTIONS TO
 SAN FRANCISCO                                                           40                    PLAINTIFFS’ FIRST SET OF RFPS
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                    1   REQUEST FOR PRODUCTION NO. 65:

                    2           All Documents concerning or constituting Your document retention or destruction policy

                    3   or policies, including, but not limited to, any practices, procedures, training, training manuals,

                    4   seminars and/or classes that You provided, or offered to, Your employees, independent contractors,

                    5   officers, directors and/or any third-party vendors concerning the maintenance and security of ESI,

                    6   including ESI containing Your customers’ records and information.

                    7   RESPONSE TO REQUEST FOR PRODUCTION NO. 65:

                    8           In addition to the foregoing Objections to Definitions and Instructions, which Zoom

                    9   incorporates by reference, Zoom specifically objects that this Request is overly broad and seeks

                   10   documents not relevant to the claims and defenses in this case and not proportional to the needs of

                   11   the case. Zoom further objects to this Request as imposing on Zoom undue burden and expense.

                   12   Zoom also objects to this request to the extent it seeks documents protected by the attorney-client

                   13   privilege or the work product doctrine.

                   14           Subject to the foregoing objections, Zoom responds that it will meet and confer with

                   15   Plaintiffs about this request.

                   16   REQUEST FOR PRODUCTION NO. 66:

                   17           All Documents concerning the banning of the use of Zoom’s technologies, including but

                   18   not limited to correspondence from businesses, healthcare providers, educational institutions, or

                   19   government entities citing privacy or security concerns.

                   20   RESPONSE TO REQUEST FOR PRODUCTION NO. 66:

                   21           In addition to the foregoing Objections to Definitions and Instructions, including Objections

                   22   to Definitions and Instructions Numbers 3 and 12, which Zoom incorporates by reference, Zoom

                   23   specifically objects that this Request is overly broad and seeks documents not relevant to the claims

                   24   and defenses in this case and not proportional to the needs of the case, including because Plaintiffs

                   25   have not alleged any personal connection to or harm from the alleged third-party data sharing.

                   26   Zoom further objects to this Request as imposing on Zoom undue burden and expense. Zoom also

                   27   objects that the phrase “the banning of use” is vague and ambiguous.

                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                        ZOOM’S RESPONSES AND OBJECTIONS TO
 SAN FRANCISCO                                                           41                    PLAINTIFFS’ FIRST SET OF RFPS
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                    1             Subject to the foregoing objections, Zoom responds that it will meet and confer with

                    2   Plaintiffs about this request.

                    3   REQUEST FOR PRODUCTION NO. 67:

                    4             All of Your insurance policies that may cover any of the claims in the above-captioned

                    5   action.

                    6   RESPONSE TO REQUEST FOR PRODUCTION NO. 67:

                    7             Subject to the foregoing Objections to Definitions and Instructions, which Zoom

                    8   incorporates by reference, Zoom responds that it will produce copies of the applicable insurance

                    9   policies pursuant to the terms of a mutually agreeable protective order.

                   10   Dated: September 28, 2020                          COOLEY LLP
                   11

                   12                                                      By: /s/ Kathleen R. Hartnett
                                                                               Kathleen R. Hartnett (314267)
                   13
                                                                           Attorneys for Defendant
                   14                                                      ZOOM VIDEO COMMUNICATIONS, INC.
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COOLEY LLP
ATTORNEYS AT LAW                                                                       ZOOM’S RESPONSES AND OBJECTIONS TO
 SAN FRANCISCO                                                          42                    PLAINTIFFS’ FIRST SET OF RFPS
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                    1                                          PROOF OF SERVICE

                    2          I am a citizen of the United States and a resident of the State of California. I am

                    3   employed in San Francisco County, State of California, in the office of a member of the bar of

                    4   this Court, at whose direction the service was made. I am over the age of eighteen years, and not

                    5   a party to the within action. My business address is Cooley LLP, 101 California Street, 5th Floor,

                    6   San Francisco, California 94111-5800. On the date set forth below I served the documents

                    7   described below in the manner described below:
                            DEFENDANT ZOOM VIDEO COMMUNICATIONS, INC.’S OBJECTIONS AND RESPONSES TO
                    8          PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
                    9                  (BY ELECTRONIC MAIL) I am personally and readily familiar with the business
                   10
                                     practice of Cooley LLP for the preparation and processing of documents in
                                       portable document format (PDF) for e-mailing, and I caused said documents to be
                                       prepared in PDF and then served by electronic mail to the parties listed below.
                   11
                        on the following part(ies) in this action:
                   12
                                      SEE ATTACHED SERVICE LIST
                   13

                   14          Executed on September 28, 2020, at San Francisco, California.
                   15

                   16

                   17
                                                                                        Adriana R. Vera
                   18

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COOLEY LLP
ATTORNEYS AT LAW                                                                       ZOOM’S RESPONSES AND OBJECTIONS TO
 SAN FRANCISCO                                                          43                    PLAINTIFFS’ FIRST SET OF RFPS
                                                                                        MASTER CASE NO. 5:20-CV-02155-LHK
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                    1

                    2                                        SERVICE LIST
                                          (Zoom Privacy Litigation, Case No. 5:20-cv-02155-LHK)
                    3
                        Tina Wolfson                                 Mark C. Molumphy
                    4   Theodore Walter Maya                         Joseph W. Cotchett
                        Bradley K. King                              Tyson Redenbarger
                    5
                        Christopher E. Stiner                        Noorjahan Rahman
                    6   Rachel Johnson                               Julia Peng
                        AHDOOT & WOLFSON, PC                         COTCHETT, PITRE & MCCARTHY, LLP
                    7   10728 Lindbrook Drive                        840 Malcolm Road, Suite 200
                        Los Angeles, CA 90024                        Burlingame, CA 94010
                    8   (310) 474-9111                               (650) 697-6000
                    9   Fax: (310) 474-8585                          Fax: (650) 697-0577
                        Email:                                       Email: mmolumphy@cpmlegal.com;
                   10   zoomleadcounsel@ahdootwolfson.com;           jcrochett@cpmlegal.com,
                        twolfson@ahdootwolfson.com;                  tredenbarger@cpmlegal.com;
                   11   tmaya@ahdootwolfson.com;                     nrahman@cpmlegal.com;
                        bking@ahdootwolfson.com;                     jpeng@cpmlegal.com.
                   12   cstiner@ahdootwolfson.com;
                   13   rjohnson@ahdootwolfson.com.

                   14   Interim Co-Lead Class Counsel for            Interim Co-Lead Class Counsel for
                        Plaintiffs                                   Plaintiffs
                   15
                        Rachel R. Byrd                               Albert Y. Chang
                   16
                        Marissa C. Livesay                           Bottini and Bottini, Inc.
                   17   Wolf Haldenstein Adler Freeman               7817 Ivanhoe Avenue
                        & Herz LLP                                   Suite 102
                   18   Symphony Towers                              La Jolla, CA 92037
                        750 B Street, Suite 1820                     858-914-2001
                   19   San Diego, CA 92101                          Fax: 858-914-2002
                        (619) 239-4599                               Email: achang@bottinilaw.com
                   20
                        Fax: (619) 234-4599
                   21   Email: byrd@whafh.com;
                        livesay@whafh.com.                           Plaintiffs’ Steering Committee
                   22
                        Plaintiffs’ Steering Committee
                   23

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COOLEY LLP
ATTORNEYS AT LAW                                                                ZOOM’S RESPONSES AND OBJECTIONS TO
 SAN FRANCISCO                                                     44                  PLAINTIFFS’ FIRST SET OF RFPS
                                                                                 MASTER CASE NO. 5:20-CV-02155-LHK
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                    1    Eric H. Gibbs
                         Andre Mura
                    2    Amanda M. Karl
                    3    Jeffrey Kosbie
                         Gibbs Law Group LLP
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                         Oakland, CA 94612
                    5    510-350-9700
                         Fax: 5103509700
                    6
                         Email: ehg@classlawgroup.com;
                    7    amn@classlawgroup.com;
                         amk@classlawgroup.com;
                    8    jbk@classlawgroup.com.

                    9
                         Plaintiffs’ Steering Committee
                   10

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                   13   234300266

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COOLEY LLP
ATTORNEYS AT LAW                                                        ZOOM’S RESPONSES AND OBJECTIONS TO
 SAN FRANCISCO                                               45                PLAINTIFFS’ FIRST SET OF RFPS
                                                                         MASTER CASE NO. 5:20-CV-02155-LHK
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                EXHIBIT 3
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                                         In re Zoom Communications Privacy Litigation, 5:20-cv-2155-LHK
                                       Exhibit 3 – Joint Discovery Chart re Plaintiffs’ First Set of RFPs to Zoom

RFP
    Disputed Request        Zoom’s Response                  Plaintiffs’ Proposal           Zoom’s Proposal                       Court’s Decision
No.
1   All Documents           In addition to the foregoing     Request limited to:            Zoom is willing to conduct a
    concerning Your         Objections to Definitions                                       reasonable search and produce
    collection, use,        and Instructions, including      1. Marketplace apps which      nonprivileged documents
    transmission, or        Objections to Definitions        Zoom has identified as         concerning the collection, use,
    storage of PII or PHI   and Instructions Number 4,       presenting a potential or      transmission, or storage of data
    pertaining to Your      which Zoom incorporates          actual security threat. For    about Zoom users as it relates
    users, including but    by reference, Zoom               example, but not limited to,   to the three third-party Zoom
    not limited to the      specifically objects that this   the Marketo app, which is      Meetings integrations that are
    use of cookies and      Request is overly broad and      labeled with “Zoom Security    the basis for Plaintiffs’ claims in
    tracking                seeks documents not              Advisory.”                     this case: the Facebook SDK,
    technologies of         relevant to the claims                                          the Firebase Analytics SDK, and
    third parties such as   and defenses in this case        2. Apps in the categories      the LinkedIn Sales Navigator.
    Google Analytics,       and not proportional to the      listed below (including
    Facebook Analytics,     needs of the case. Zoom          LinkedIn):
    Amazon, hotjar, and     further objects to this             a. Analytics
    zendesk, including      Request as imposing on              b. CRM
    the purpose,            Zoom undue burden and               c. Education
    manner, and type of     expense. Zoom additionally          d. Healthcare and
    such data and it        objects that the phrases            e. Telehealth
    such collection, use,   “collection, use,
    transmission, or        transmission, or storage         3. All SDKs, including
    storage.                of,” “purpose, manner, and       Facebook and Google.
                            type of such data,”
                            and “use of cookies and          This proposal is referred to
                            tracking technologies of         as “Third Party Data
                            third parties” are vague         Proposal” herein.
                            and ambiguous. Zoom




                                                                                                                                                     1
                             Case 5:20-cv-02155-LHK Document 150 Filed 02/05/21 Page 77 of 116
                                         In re Zoom Communications Privacy Litigation, 5:20-cv-2155-LHK
                                       Exhibit 3 – Joint Discovery Chart re Plaintiffs’ First Set of RFPs to Zoom

RFP
    Disputed Request        Zoom’s Response                  Plaintiffs’ Proposal             Zoom’s Proposal                        Court’s Decision
No.
                            objects to this Request to
                            the extent it seeks
                            documents protected by
                            the attorney-client
                            privilege or the work
                            product doctrine.

                            Subject to the foregoing
                            objections, Zoom responds
                            that it will meet and confer
                            with Plaintiffs about this
                            Request.
2    All Documents          In addition to the foregoing     Plaintiffs agree that this       Zoom is willing to conduct a
     concerning Your        Objections to Definitions        request can be limited to        reasonable search and produce
     efforts to             and Instructions, including      Plaintiffs’ factual theories     nonprivileged documents
     implement              Objections to Definitions        Complaint, i.e., (1)             concerning efforts to
     measures for           and Instructions Number 4,       Plaintiffs’ Third Party Data     implement security measures
     privacy, data          which Zoom incorporates          Proposal described in            regarding the three theories of
     protection, and        by reference, Zoom               response to RFP 1, above ,       Zoom’s conduct that are the
     information security   specifically objects that this   (2) alleged liability for        basis for Plaintiffs’ claims in this
     for Your users, the    Request is overly broad and      meeting disruptions caused       case: (1) the Facebook SDK, the
     integrity of such      seeks documents not              by unwanted third-party          Firebase Analytics SDK, and the
     measures, and Your     relevant to the claims           participants who joined          LinkedIn Sales Navigator, (2)
     assurances to the      and defenses in this case        Plaintiffs’ Zoom meetings,       Zoom’s implementation of end-
     public that Your       and not proportional to the      and (3) alleged false claims     to-end encryption of meeting
     video conferences      needs of the case. Zoom          of providing provide end-to-     data; and (3) meeting
     are private and that   further objects to this          end encryption (“E2EE”).         disruptions. Zoom is also willing
     the PII or PHI of      Request as imposing on           Plaintiffs do not agree to       to produce public
     Your users will be     Zoom undue burden and            limit this request to the        representations regarding such
     properly               expense. Zoom additionally       three third-parties identified   efforts.
     maintained.            objects that the                 by Zoom




                                                                                                                                                        2
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                                         In re Zoom Communications Privacy Litigation, 5:20-cv-2155-LHK
                                       Exhibit 3 – Joint Discovery Chart re Plaintiffs’ First Set of RFPs to Zoom

RFP
    Disputed Request        Zoom’s Response                  Plaintiffs’ Proposal           Zoom’s Proposal                        Court’s Decision
No.
                            phrases “implement
                            measures,” “the integrity of
                            such measures,” and “Your
                            assurances to the
                            public” are vague and
                            ambiguous. Zoom objects
                            to this Request to the
                            extent it seeks documents
                            protected by the attorney-
                            client privilege or the work
                            product doctrine.

                            Subject to the foregoing
                            objections, Zoom responds
                            that it will meet and confer
                            with Plaintiffs about this
                            Request.
4    All Communications     In addition to the foregoing     Plaintiffs incorporate their   Zoom is willing to produce
     with Your users        Objections to Definitions        response to RFP #2.            public representations
     concerning             and Instructions, including                                     regarding efforts to implement
     regarding Zoom’s       Objections to Definitions                                       security measures regarding
     privacy, security,     and Instructions Number 4,                                      the three theories of Zoom’s
     Zoom’s use of PII or   which Zoom incorporates                                         conduct that are the basis for
     PHI, or Zoom-          by reference, Zoom                                              Plaintiffs’ claims in this case: (1)
     related data           specifically objects that this                                  the Facebook SDK, the Firebase
     breaches.              Request is overly broad and                                     Analytics SDK, and the LinkedIn
                            seeks documents not                                             Sales Navigator, (2) Zoom’s
                            relevant to the claims                                          implementation of end-to-end
                            and defenses in this case                                       encryption of meeting data;
                            and not proportional to the                                     and (3) meeting disruptions.
                            needs of the case. Zoom
                            further objects to this



                                                                                                                                                      3
                        Case 5:20-cv-02155-LHK Document 150 Filed 02/05/21 Page 79 of 116
                                   In re Zoom Communications Privacy Litigation, 5:20-cv-2155-LHK
                                 Exhibit 3 – Joint Discovery Chart re Plaintiffs’ First Set of RFPs to Zoom

RFP
    Disputed Request   Zoom’s Response                Plaintiffs’ Proposal           Zoom’s Proposal          Court’s Decision
No.
                       Request as imposing on
                       Zoom undue burden and
                       expense. Zoom additionally
                       objects that the phrase
                       “privacy, security, Zoom’s
                       use of PII or PHI, or Zoom-
                       related data breaches” is
                       vague and ambiguous.
                       Zoom objects to this
                       Request to the extent it
                       seeks documents protected
                       by the right of privacy
                       under the California
                       Constitution, article I,
                       section 1.

                       Subject to the foregoing
                       objections, Zoom responds
                       that it will meet and confer
                       with Plaintiffs about this
                       Request.




                                                                                                                                 4
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                                       In re Zoom Communications Privacy Litigation, 5:20-cv-2155-LHK
                                     Exhibit 3 – Joint Discovery Chart re Plaintiffs’ First Set of RFPs to Zoom

RFP
    Disputed Request      Zoom’s Response                  Plaintiffs’ Proposal             Zoom’s Proposal                    Court’s Decision
No.
5   Documents             In addition to the foregoing     Plaintiffs do not agree to       Zoom is willing to conduct a
    regarding all         Objections to Definitions        limit this request to the        reasonable search and produce
    materials ever        and Instructions, including      three third-parties identified   nonprivileged documents
    published on Your     Objections to Definitions        by Zoom.                         regarding statements on
    website Zoom.us       and Instructions Number 3,                                        Zoom’s website concerning the
    relating to privacy   which Zoom incorporates                                           three theories of Zoom’s
    and/or any data       by reference, Zoom                                                conduct that are the basis for
    collected from and    specifically objects that this                                    Plaintiffs’ claims in this case:
    about anyone who      Request is overly broad and                                       (1) the Facebook SDK, the
    interacts with        seeks documents not                                               Firebase Analytics SDK, and the
    Zoom’s products.      relevant to the claims                                            LinkedIn Sales Navigator, (2)
                          and defenses in this case                                         Zoom’s implementation of end-
                          and not proportional to the                                       to-end encryption of meeting
                          needs of the case. Zoom                                           data; and (3) meeting
                          further objects to this                                           disruptions
                          Request as imposing on
                          Zoom undue burden and
                          expense. Zoom additionally
                          objects that the phrase
                          “privacy and/or any data
                          collected from and about
                          anyone who interacts with
                          Zoom’s products” is vague
                          and ambiguous.

                          Subject to the foregoing
                          objections, Zoom responds
                          that it will meet and confer
                          with Plaintiffs about this
                          Request.




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                                       In re Zoom Communications Privacy Litigation, 5:20-cv-2155-LHK
                                     Exhibit 3 – Joint Discovery Chart re Plaintiffs’ First Set of RFPs to Zoom

RFP
    Disputed Request       Zoom’s Response                Plaintiffs’ Proposal           Zoom’s Proposal             Court’s Decision
No.
8   All Communications     In addition to the foregoing   Zoom’s proposed limitation     Zoom therefore will not
    regarding Zoom’s       Objections to Definitions      is inappropriate.              produce documents in
    compliance with        and Instructions, including                                   response to this Request.
    privacy statutes       Objections to Definitions
    including but not      and Instructions Numbers
    limited to HIPAA,      3, 11, and 12, which Zoom
    the CCPA, state        incorporates by reference,
    data breach acts,      Zoom specifically objects
    state consumer         that this Request is overly
    protection acts, the   broad and seeks
    Federal Trade          documents not relevant to
    Commission Act, or     the claims and defenses in
    other state or         this case and not
    federal statutes       proportional to the needs
    governing privacy.     of the case. Zoom further
                           objects to this Request as
                           imposing on Zoom undue
                           burden and expense. Zoom
                           objects to this Request to
                           the extent it seeks
                           documents protected by
                           the attorney-client
                           privilege or the work
                           product doctrine.

                           Subject to the foregoing
                           objections, Zoom has not
                           conducted and will not
                           conduct searches




                                                                                                                                        6
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                                   Exhibit 3 – Joint Discovery Chart re Plaintiffs’ First Set of RFPs to Zoom

RFP
    Disputed Request     Zoom’s Response                Plaintiffs’ Proposal           Zoom’s Proposal             Court’s Decision
No.
                         for responsive documents,
                         and, as a result, will not
                         produce documents in
                         response to this Request.
9    All Documents       In addition to the foregoing   Plaintiffs incorporate their   Zoom therefore will not
     relating to Your    Objections to Definitions      response to RFP # 8 herein.    produce documents in
     efforts to comply   and Instructions, including                                   response to this Request.
     with medical        Objections to Definitions
     privacy laws        and Instructions Numbers
     regarding PHI,      3, 11, and 12, which Zoom
     including but not   incorporates by reference,
     limited to HIPAA.   Zoom specifically objects
                         that this Request is overly
                         broad and seeks
                         documents not relevant to
                         the claims and defenses in
                         this case and not
                         proportional to the needs
                         of the case. Zoom further
                         objects to this Request as
                         imposing on Zoom undue
                         burden and expense. Zoom
                         objects to this Request to
                         the extent it seeks
                         documents protected by
                         the attorney-client
                         privilege or the work
                         product doctrine.




                                                                                                                                      7
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                                      In re Zoom Communications Privacy Litigation, 5:20-cv-2155-LHK
                                    Exhibit 3 – Joint Discovery Chart re Plaintiffs’ First Set of RFPs to Zoom

RFP
    Disputed Request      Zoom’s Response               Plaintiffs’ Proposal            Zoom’s Proposal             Court’s Decision
No.
                         Subject to the foregoing
                         objections, Zoom has not
                         conducted and will not
                         conduct searches
                         for responsive documents,
                         and, as a result, will not
                         produce documents in
                         response to this Request.
10   All Documents       In addition to the foregoing   Plaintiffs incorporate their    Zoom therefore will not
     relating to the     Objections to Definitions      response to RFP # 8 herein.     produce documents in
     National Security   and Instructions, including                                    response to this Request.
     and Personal Data   Objections to Definitions
     Protection Act,     and Instructions Numbers
     including Your      3, 11, and 12, which Zoom
     compliance or       incorporates by reference,
     noncompliance with Zoom specifically objects
     that Act,           that this Request is overly
     amendments or       broad and seeks
     proposed            documents not relevant to
     amendments to       the claims and defenses in
     that Act, and       this case and not
     correspondence      proportional to the needs
     with any            of the case. Zoom further
     government or       objects to this Request as
     elected official,   imposing on Zoom undue
     their staff, or any burden and expense. Zoom
     lobbyist            objects to this Request to
     organization        the extent it seeks
     concerning the      documents protected by
     same.               the attorney-client
                         privilege or the work
                         product doctrine.



                                                                                                                                       8
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                                      Exhibit 3 – Joint Discovery Chart re Plaintiffs’ First Set of RFPs to Zoom

RFP
    Disputed Request       Zoom’s Response                Plaintiffs’ Proposal            Zoom’s Proposal             Court’s Decision
No.

                           Subject to the foregoing
                           objections, Zoom has not
                           conducted and will not
                           conduct searches
                           for responsive documents,
                           and, as a result, will not
                           produce documents in
                           response to this Request.
11   All Documents         In addition to the foregoing   Plaintiffs incorporate their    Zoom therefore will not
     relating to Your      Objections to Definitions      response to RFP # 8 herein.     produce documents in
     membership in, and and Instructions, including                                       response to this Request.
     certification from,   Objections to Definitions
     the U.S.              and Instructions Numbers
     Department of         3, 11, and 12, which Zoom
     Commerce US-EU        incorporates by reference,
     Privacy Shield,       Zoom specifically objects
     including, but not    that this Request is overly
     limited to, your      broad and seeks
     efforts to gain       documents not relevant to
     approval as a         the claims and defenses in
     member,               this case and not
     compliance with its proportional to the needs
     privacy safeguards, of the case. Zoom further
     and enforcement of objects to this Request as
     the Privacy Shield as imposing on Zoom undue
     to Zoom.              burden and expense. Zoom
                           objects to this Request to




                                                                                                                                         9
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                                 Exhibit 3 – Joint Discovery Chart re Plaintiffs’ First Set of RFPs to Zoom

RFP
    Disputed Request   Zoom’s Response               Plaintiffs’ Proposal            Zoom’s Proposal          Court’s Decision
No.
                       the extent it seeks
                       documents protected by
                       the attorney-client
                       privilege or the work
                       product doctrine.

                       Subject to the foregoing
                       objections, Zoom has not
                       conducted and will not
                       conduct searches
                       for responsive documents,
                       and, as a result, will not
                       produce documents in
                       response to this Request.




                                                                                                                                 10
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                                       In re Zoom Communications Privacy Litigation, 5:20-cv-2155-LHK
                                     Exhibit 3 – Joint Discovery Chart re Plaintiffs’ First Set of RFPs to Zoom

RFP
    Disputed Request      Zoom’s Response                  Plaintiffs’ Proposal             Zoom’s Proposal                        Court’s Decision
No.
12  All Documents         In addition to the foregoing     Plaintiffs agree to limit this   Zoom is willing to conduct a
    concerning the        Objections to Definitions        request to their Third Party     reasonable search for and to
    protection of         and Instructions, including      Data Proposal, as described      produce non-privileged
    children’s privacy,   Objections to Definitions        in response to RFP 1, above.     documents, if any, about
    PII, and PHI in       and Instructions Number 4,                                        minors/schools as they to the
    connection with the   which Zoom incorporates                                           three theories of Zoom’s
    use of Your           by reference, Zoom                                                conduct that are the basis for
    technologies,         specifically objects that this                                    Plaintiffs’ claims in this case: (1)
    including but not     Request is overly broad and                                       the Facebook SDK, the Firebase
    limited to Your       seeks documents not                                               Analytics SDK, and the LinkedIn
    circumvention of      relevant to the claims                                            Sales Navigator, (2) Zoom’s
    requirements for      and defenses in this case                                         implementation of end-to-end
    protecting student    and not proportional to the                                       encryption of meeting data;
    data, school          needs of the case. Zoom                                           and (3) meeting disruptions, to
    districts’            further objects to this                                           the extent such documents are
    prohibitions on the   Request as imposing on                                            not picked up in the other
    use of Zoom as a      Zoom undue burden and                                             searches Zoom has offered to
    distance-learning     expense. Zoom additionally                                        run in relation to these three
    platform, and         objects that the phrase                                           topics.
    exploitation of       “circumvention of
    Zoom screen-          requirements for
    sharing features to   protecting student data,
    interrupt             school districts’
    educational           prohibitions on
    sessions.             the use of Zoom as a
                          distance-learning platform,
                          and exploitation of Zoom
                          screen-sharing features
                          to interrupt educational
                          sessions” is vague and
                          ambiguous. Zoom objects
                          to this Request to the



                                                                                                                                                      11
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                                        Exhibit 3 – Joint Discovery Chart re Plaintiffs’ First Set of RFPs to Zoom

RFP
    Disputed Request         Zoom’s Response                  Plaintiffs’ Proposal              Zoom’s Proposal                      Court’s Decision
No.
                             extent it seeks documents
                             protected by the attorney-
                             client privilege or the work
                             product doctrine.

                             Subject to the foregoing
                             objections, Zoom responds
                             that it will meet and confer
                             with Plaintiffs about this
                             Request.
13   All Documents           In addition to the foregoing     Plaintiffs propose that this      Zoom is willing to conduct a
     evidencing Your         Objections to Definitions        request can be limited to         reasonable search and to
     policies,               and Instructions, including      Plaintiffs’ factual theories      produce nonprivileged
     procedures,             Objections to Definitions        re: (1) Plaintiffs’ Third Party   documents, if any, concerning
     protocols, practices,   and Instructions Number 4,       Data Proposal, (2) alleging       prevention of unauthorized
     and infrastructure      which Zoom incorporates          liability for meeting             access to data about Zoom
     for preventing          by reference, Zoom               disruptions caused by             users as related to the three
     unauthorized users      specifically objects that this   unwanted third-party              theories of Zoom’s conduct
     from accessing PII      Request is overly broad and      participants who joined           that are the basis for Plaintiffs’
     or PHI, including but   seeks documents not              Plaintiffs’ Zoom meetings, or     claims in this case: (1) the
     not limited to          relevant to the claims           (3) alleging false claims         Facebook SDK, the Firebase
     password                and defenses in this case        regarding encryption              Analytics SDK, and the LinkedIn
     requirements,           and not proportional to the      capabilities.                     Sales Navigator, (2) Zoom’s
     encryption, other       needs of the case. Zoom                                            implementation of end-to-end
     authentication          further objects to this                                            encryption of meeting data;
     requirements,           Request as imposing on                                             and (3) meeting disruptions.
     network                 Zoom undue burden and
     segmentation,           expense. Zoom additionally
     logging, and remote     objects that the
     access by
     employees.




                                                                                                                                                        12
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                                 Exhibit 3 – Joint Discovery Chart re Plaintiffs’ First Set of RFPs to Zoom

RFP
    Disputed Request   Zoom’s Response                Plaintiffs’ Proposal           Zoom’s Proposal          Court’s Decision
No.
                       phrase “unauthorized
                       users” is vague, ambiguous,
                       and unintelligible given the
                       later reference to
                       employees. Zoom objects
                       to this Request to the
                       extent it seeks documents
                       protected by the attorney
                       client privilege or the work
                       product doctrine.

                       Subject to the foregoing
                       objections, Zoom responds
                       that it will meet and confer
                       with Plaintiffs about this
                       Request.




                                                                                                                                 13
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                                       Exhibit 3 – Joint Discovery Chart re Plaintiffs’ First Set of RFPs to Zoom

14   All Documents           In addition to the foregoing   Plaintiffs propose that this      Zoom is willing to conduct a
     including but not       Objections to Definitions      request can be limited to         reasonable search and produce
     limited to reports,     and Instructions, including    Plaintiffs’ factual theories      nonprivileged security
     correspondence,         Objections to Definitions      re: (1) Plaintiffs’ Third Party   assessments or reports
     internal or external    and Instructions Numbers       Data Proposal, (2) alleging       regarding the three theories of
     audits, analyses,       3, 11, and 12, which Zoom      liability for meeting             Zoom’s conduct that are the
     studies, reviews,       incorporates by reference,     disruptions caused by             basis for Plaintiffs’ claims in this
     and tasks relating to   Zoom specifically objects      unwanted third-party              case: (1) the Facebook SDK,
     privacy, data           that this Request is overly    participants who joined           the Firebase Analytics SDK, and
     protection and/or       broad and seeks                Plaintiffs’ Zoom meetings, or     the LinkedIn Sales Navigator,
     cyber security          documents not relevant to      (3) alleging false claims         (2) Zoom’s implementation of
     issues performed by     the claims and defenses in     regarding encryption              end-to-end encryption of
     and for any digital     this case and not              capabilities.                     meeting data; and (3) meeting
     security compliance     proportional to the needs                                        disruptions. If such documents
     entity, including but   of the case. Zoom further                                        also concern other security
     not limited to,         objects to this Request as                                       assessments, Zoom will redact
     TrustArc, Federal       imposing on Zoom undue                                           other information.
     Risk and                burden and expense. Zoom
     Authorization           additionally objects that
     Management              the phrase “any digital
     Program                 security compliance entity”
     (FedRAMP), and the      is vague, ambiguous, and
     American Institute      unintelligible given
     of Certified Public     the later reference to
     Accountants             employees. Zoom objects
     (AICPA), including      to this Request to the
     how Zoom                extent it seeks documents
     determined the          protected by the attorney-
     “relevant criteria”     client privilege or the work
     and corresponding       product doctrine.
     controls for Service
     Organization            Subject to the foregoing
     Controls (SOC) 2        objections, Zoom has not
     certification.



                                                                                                                                     14
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                                       Exhibit 3 – Joint Discovery Chart re Plaintiffs’ First Set of RFPs to Zoom

RFP
    Disputed Request         Zoom’s Response                Plaintiffs’ Proposal            Zoom’s Proposal                  Court’s Decision
No.
                             conducted and will not
                             conduct searches
                             for responsive documents,
                             and, as a result, will not
                             produce documents in
                             response to this Request.
17   All Documents           In addition to the foregoing   Plaintiffs do not believe       Zoom is willing to conduct a
     relating to financial   Objections to Definitions      limitation is appropriate.      reasonable search and produce
     metric and/or           and Instructions, including    Plaintiffs do not agree to      nonprivileged documents, if
     business valuation      Objections to Definitions      limit discovery regarding       any, related to non-enterprise
     of encryption           and Instructions Numbers 3     Zoom’s encryption               customers’ valuing (if any) of
     capabilities and        and 10, which Zoom             capabilities to “end to end.”   end-to-end encryption for
     implementation in       incorporates by reference,                                     Zoom meeting data.
     connection with         Zoom specifically objects
     Your technologies.      that this Request is overly
                             broad and seeks
                             documents not relevant to
                             the claims and defenses in
                             this case and not
                             proportional to the needs
                             of the case. Zoom further
                             objects to this Request as
                             imposing on Zoom undue
                             burden and expense. Zoom
                             additionally objects that
                             the phrase “valuation of
                             encryption capabilities and
                             implementation” is vague
                             and ambiguous and will
                             interpret that phrase to
                             mean valuations of Zoom’s
                             end-to-end encryption.



                                                                                                                                                15
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                                     Exhibit 3 – Joint Discovery Chart re Plaintiffs’ First Set of RFPs to Zoom

RFP
    Disputed Request      Zoom’s Response                  Plaintiffs’ Proposal            Zoom’s Proposal                Court’s Decision
No.

                          Subject to the foregoing
                          objections, Zoom responds
                          that it will meet and confer
                          with Plaintiffs about this
                          Request.
18   All Documents        In addition to the foregoing     Plaintiffs do not believe       Zoom is willing to conduct a
     relating to          Objections to Definitions        limitation is appropriate.      reasonable search and
     representations,     and Instructions, including      Plaintiffs do not agree to      produce nonprivileged
     statements,          Objections to Definitions        limit encryption capabilities   documents related to Zoom’s
     announcements,       and Instructions Numbers         to “end to end.”                public statements about
     and/or               3, 10, and 12 and General                                        Zoom’s implementation of
     correspondence       Response Number 3, which                                         end-to-end encryption of
     made by Zoom to      Zoom incorporates by                                             meeting data.
     consumers            reference, Zoom
     regarding security   specifically objects that this
     and privacy          Request is overly broad and
     protection of its    seeks documents not
     technology by its    relevant to the claims and
     encryption           defenses in this case and
     capabilities         not proportional to the
     including but not    needs of the case. Zoom
     limited to end-to-   further objects to this
     end encryption.      Request as imposing on
                          Zoom undue burden and
                          expense. Zoom additionally
                          objects that the phrase
                          “security and privacy
                          protection of its
                          technology by its
                          encryption capabilities” is
                          vague, ambiguous, and



                                                                                                                                             16
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                                     Exhibit 3 – Joint Discovery Chart re Plaintiffs’ First Set of RFPs to Zoom

RFP
    Disputed Request       Zoom’s Response                Plaintiffs’ Proposal           Zoom’s Proposal                Court’s Decision
No.
                           unintelligible given the
                           later reference to
                           employees.

                           Subject to the foregoing
                           objections, Zoom will
                           conduct a reasonable
                           search and produce
                           responsive, non-privileged
                           communications, if any, by
                           Zoom to the public
                           regarding Zoom’s end-to-
                           end encryption pursuant to
                           the terms of a mutually
                           agreeable protective order.
19   All Documents         In addition to the foregoing   Plaintiffs do not believe a    Zoom is willing to conduct a
     concerning Your       Objections to Definitions      limitation is appropriate.     reasonable search and
     encryption            and Instructions, including                                   produce nonprivileged
     capabilities,         Objections to Definitions                                     documents regarding Zoom’s
     including but not     and Instructions Numbers                                      implementation of end-to-
     limited to Your       4, 9, and 10 and General                                      end encryption of meeting
     technical capacity    Response Number 3, which                                      data.
     to offer end-to-end   Zoom
     encryption for        incorporates by reference,
     Zoom video            Zoom specifically objects
     meetings,             that this Request is overly
     encryption of chat    broad and seeks
                           documents not relevant to
                           the claims and defenses in
                           this case and not
                           proportional to the needs
                           of the case, including



                                                                                                                                           17
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                                    Exhibit 3 – Joint Discovery Chart re Plaintiffs’ First Set of RFPs to Zoom

RFP
    Disputed Request      Zoom’s Response                 Plaintiffs’ Proposal            Zoom’s Proposal        Court’s Decision
No.
    messages,             because it seeks                Plaintiffs seek all documents
    encryption white      documents regarding AES-        concerning Zoom’s
    papers, ability of    256 and AES-128                 encryption capabilities,
    consumers to          encryption and chat             including but not limited to
    control their         messages. Zoom further          Zoom’s technical capacity to
    security keys,        objects to this Request as      offer end-to-end encryption
    representations       imposing on Zoom undue          for Zoom video meetings,
    regarding AES-256     burden and                      and encryption of chat
    encryption, Zoom’s    expense. Zoom objects to        messages. Plaintiffs also
    decision to utilize   this Request to the extent it   seek all documents
    an in-house           seeks documents protected       “concerning encryption
    implementation of     by the attorney client          white papers, ability of
    AES-128 encryption    privilege or the work           consumers to control their
    in electronic         product doctrine.               security keys,
    codebook (ECB)                                        representations regarding
    mode.                 Subject to the foregoing        AES- 256 encryption, Zoom’s
                          objections, Zoom will           decision to utilize in-house
                          conduct a reasonable            implementation of AES-128
                          search and produce              encryption in electronic
                          responsive, non-privileged      codebook (ECB) mode.”
                          documents, if any,
                          sufficient to show Zoom’s
                          end-to-end encryption
                          capabilities for meeting
                          data and material changes
                          to the end-to-end nature of
                          Zoom’s end-to-end
                          encryption of meetings
                          over time pursuant to the
                          terms of a mutually
                          agreeable protective order.




                                                                                                                                    18
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                                    Exhibit 3 – Joint Discovery Chart re Plaintiffs’ First Set of RFPs to Zoom

RFP
    Disputed Request      Zoom’s Response                Plaintiffs’ Proposal            Zoom’s Proposal                Court’s Decision
No.
20  All documents         In addition to the foregoing   Plaintiffs do not agree to      Zoom is willing to conduct a
    concerning the        Objections to Definitions      limit discovery regarding       reasonable search and to
    evolution of          and Instructions, including    Zoom’s encryption               produce nonprivileged
    encryption            Objections to Definitions      capabilities to “end to end.”   documents regarding Zoom’s
    capability and        and Instructions Numbers                                       implementation of end-to-
    implementation        4, 9, and 10 and General                                       end encryption of meeting
    over                  Response Number 3, which                                       data.
    time and across       Zoom
    access formats and    incorporates by reference,
    systems such as but   Zoom specifically objects
    not limited to Zoom   that this Request is overly
    Meetings, Zoom        broad and seeks
    Video                 documents not relevant to
    Webinars, Zoom        the claims and defenses in
    Phone, SIP/H.323      this case and not
    room-based system     proportional to the needs
    endpoints, legacy     of the case. Zoom further
    systems, and “Zoom    objects to this Request as
    Connectors.”          imposing on Zoom undue
                          burden and expense. Zoom
                          objects that the phrase
                          “encryption capability and
                          implementation over time
                          and across access formats
                          and systems” is vague and
                          ambiguous. Zoom will
                          interpret that phrase to
                          mean the
                          end-to-end nature of
                          Zoom’s end-to-end
                          encryption. Zoom further
                          objects to this Request to



                                                                                                                                           19
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                                 Exhibit 3 – Joint Discovery Chart re Plaintiffs’ First Set of RFPs to Zoom

RFP
    Disputed Request   Zoom’s Response               Plaintiffs’ Proposal            Zoom’s Proposal          Court’s Decision
No.
                       the extent it seeks
                       documents protected by
                       the attorney-client
                       privilege or the work
                       product doctrine.

                       Subject to the foregoing
                       objections, Zoom will
                       conduct a reasonable
                       search and produce
                       responsive, non-privileged
                       documents, if any,
                       sufficient to show Zoom’s
                       end-to-end encryption
                       capabilities for meeting
                       data and material changes
                       to the end-to-end nature of
                       Zoom’s end-to-end
                       encryption of meetings
                       over time pursuant to the
                       terms of a mutually
                       agreeable protective order.




                                                                                                                                 20
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                                        Exhibit 3 – Joint Discovery Chart re Plaintiffs’ First Set of RFPs to Zoom

22   All Documents           In addition to the foregoing     Plaintiffs do not believe any   Zoom is willing to conduct a
     concerning Your         Objections to Definitions        further limitation is           reasonable search and to
     knowledge and           and Instructions, including      appropriate.                    produce nonprivileged security
     assessment of           Objections to Definitions                                        assessments or reports related
     weaknesses,             and Instructions Number 4,                                       to the three theories of Zoom’s
     vulnerabilities,        which Zoom incorporates                                          conduct that are the basis for
     breaches, and           by reference, Zoom                                               Plaintiffs’ claims in this case: 1)
     security risks in the   specifically objects that this                                   the Facebook SDK, the
     Company’s               Request is overly broad and                                      Firebase Analytics SDK, and the
     cybersecurity and       seeks documents not                                              LinkedIn Sales Navigator , (2)
     data protection         relevant to the claims                                           Zoom’s implementation of end-
     systems related to      Complaint does not contain                                       to-end encryption of meeting
     unauthorized access     any allegations pertaining                                       data; and (3) meeting
     of Zoom users’ PII      to data breaches. Zoom                                           disruptions. If such documents
     or PHI and their        further objects to this                                          also concern other security
     Zoom account            Request as imposing on                                           assessments, Zoom will redact
     information or          Zoom undue burden and                                            other information.
     credentials,            expense. Zoom additionally
     including but not       objects to this Request to
     limited to Zoom’s       the extent it seeks
     Security                documents protected by
     Whitepapers,            the attorney-client
     Common                  privilege or the work
     Vulnerabilities and     product doctrine.
     Exposures (CVE)
     reports, National       Subject to the foregoing
     Vulnerability           objections, Zoom has not
     Database (NVD)          conducted and will not
     reports,                conduct searches for
     communications          responsive documents,
     with security           and, as a result, will not
     researchers             produce documents in
     regarding such          response to this Request.
     weaknesses and



                                                                                                                                    21
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                                        Exhibit 3 – Joint Discovery Chart re Plaintiffs’ First Set of RFPs to Zoom

RFP
    Disputed Request         Zoom’s Response                  Plaintiffs’ Proposal            Zoom’s Proposal                     Court’s Decision
No.
    solutions thereto,       and defenses in this case
    payment of any           and not proportional to the
    “bug bounty”             needs of the case, including
    relating to Zoom,        because the
    and non-disclosure
    agreements with
    outside security
    researchers.
24  All Documents            In addition to the foregoing     Plaintiffs propose the          Zoom is willing to conduct a
    sufficient to identify   Objections to Definitions        following limitation:           reasonable search and produce
    the total number of      and Instructions, including      All Documents sufficient to     nonprivileged documents, if
    possible persons         Objections to Definitions        identify the total number of    any, sufficient to show, with
    whose information        and Instructions Number 3,       possible persons whose          respect to U.S.-based users :
    was accessed,            which Zoom incorporates          information was accessed,       (1) the number of Zoom users
    viewed,                  by reference, Zoom               viewed, downloaded,             with the three third-party
    downloaded,              specifically objects that this   copied, breached or             Zoom Meetings integrations
    copied, breached or      Request is overly broad and      compromised in any way in       that are the basis of Plaintiffs’
    compromised in any       seeks documents not              relation to (1) Plaintiffs’     claims in this case: the
    way in relation to a     relevant to the claims           Third Party Data Proposal       Facebook SDK, the Firebase
    data breach                                               (2) meeting disruptions         Analytics SDK, or the LinkedIn
    compromising                                              caused by unwanted third-       Sales Navigator; (2) the
    Zoom accounts.                                            party participants who          number of meeting disruptions,
                                                              joined Plaintiffs’ Zoom         and (3) that Zoom does not
                                                              meetings, or (3) false claims   have the capability to record or
                                                              regarding encryption            transcribe meetings other than
                                                              capabilities.                   in response to a meeting
                                                                                              participant’s request.

                                                                                              If no documents exist regarding
                                                                                              category (3), Zoom is willing to
                                                                                              produce a 30b6 witness on that
                                                                                              topic.



                                                                                                                                                     22
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                                 Exhibit 3 – Joint Discovery Chart re Plaintiffs’ First Set of RFPs to Zoom

RFP
    Disputed Request   Zoom’s Response                Plaintiffs’ Proposal           Zoom’s Proposal          Court’s Decision
No.
                       and defenses in this case
                       and not proportional to the
                       needs of the case, including
                       because the Complaint
                       does not contain any
                       allegations pertaining to
                       data breaches. Zoom
                       further objects to this
                       Request as imposing on
                       Zoom undue burden and
                       expense. Zoom additionally
                       objects to this Request to
                       the extent it seeks
                       documents protected by
                       the attorney-client
                       privilege or the work
                       product doctrine.

                       Subject to the foregoing
                       objections, Zoom has not
                       conducted and will not
                       conduct searches
                       for responsive documents,
                       and, as a result, will not
                       produce documents in
                       response to this Request.




                                                                                                                                 23
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                                      Exhibit 3 – Joint Discovery Chart re Plaintiffs’ First Set of RFPs to Zoom

RFP
    Disputed Request       Zoom’s Response                  Plaintiffs’ Proposal          Zoom’s Proposal                        Court’s Decision
No.
27  All Documents,         In addition to the foregoing     Plaintiffs are not amenable   Zoom is willing to conduct a
    including, but not     Objections to Definitions        to a limitation.              reasonable search and produce
    limited to, any        and Instructions, including                                    nonprivileged security
    internal or external   Objections to Definitions                                      assessments or reports related
    audits, analyses,      and Instructions Number 3,                                     to the three theories of Zoom’s
    studies or reviews     which Zoom incorporates                                        conduct that are the basis for
    or                     by reference, Zoom                                             Plaintiffs’ claims in this case: (1)
    recommendations        specifically objects that this                                 the Facebook SDK, the
    performed by Zoom      Request is overly broad and                                    Firebase Analytics SDK, and the
    or any third party     seeks documents not                                            LinkedIn Sales Navigator, (2)
    relating to Zoom’s     relevant to the claims                                         Zoom’s implementation of end-
    investigation of       and defenses in this case                                      to-end encryption of meeting
    “Zoom Bombings”        and not proportional to the                                    data; and (3) meeting
    and “Zoom Raids”       needs of the case. Zoom                                        disruptions. If such documents
    and any                further objects to this                                        also concern other security
    preventative           Request as imposing on                                         assessments, Zoom will redact
    methods or             Zoom undue burden and                                          other information.
    precautions with       expense. Zoom additionally
    regard to “Zoom        objects to this Request to
    Bombings” and          the extent it seeks
    “Zoom Raids” for       documents protected by
    users of Your          the attorney-client
    technologies.          privilege or the work
                           product doctrine.

                           Subject to the foregoing
                           objections, Zoom responds
                           that it will meet and confer
                           with Plaintiffs about this
                           Request.




                                                                                                                                                    24
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                                       Exhibit 3 – Joint Discovery Chart re Plaintiffs’ First Set of RFPs to Zoom

35   All Documents,          In addition to the foregoing   Plaintiffs agree to Zoom’s       For any investigation of Zoom
     including               Objections to Definitions      proposal with the following      by a domestic or foreign
     subpoenas, other        and Instructions, including    changes: 1) discovery on         governmental or regulatory
     compulsory              Objections to Definitions      Plaintiffs’ broader Third        body, Zoom is willing to
     process, civil          and Instructions Numbers       Party Data Proposal (not         conduct a reasonable search
     investigative           3, 11, and 12, which Zoom      Zoom’s limitation); and 2) all   and produce (a) substantive
     demands,                incorporates by reference,     correspondence, not limited      correspondence between
     correspondence, or      Zoom specifically objects      to “substantive”.                Zoom and that domestic or
     any other requests      that this Request is overly                                     foreign governmental or
     for information         broad and seeks
                                                                                             regulatory body related to the
     made to Zoom or         documents not relevant to
                                                                                             three theories of Zoom’s
     received by Zoom        the claims and defenses in
                                                                                             conduct that are the basis for
     from any regulator      this case and not
     or government           proportional to the needs
                                                                                             Plaintiffs’ claims in this case:
     entity, whether         of the case, including                                          (1) the Facebook SDK, the
     state, federal, or in   because it seeks                                                Firebase Analytics SDK, and
     a foreign country       documents relating to                                           the LinkedIn Sales Navigator,
     (including, but not     proceedings in foreign                                          (2) Zoom’s implementation of
     limited to, any         countries. Zoom further                                         end-to-end encryption of
     committee of the        objects that production                                         meeting data, and (3) meeting
     United States House     of documents relating to                                        disruptions; and (b)
     of Representatives      such proceedings, if any,                                       documents regarding the
     or Senate; the          could raise sovereignty and                                     Three Theories produced to
     United States           potential national                                              the those bodies that were
     Department of           security concerns. Zoom                                         not otherwise captured by
     Justice; the United     further objects to this                                         Zoom’s production of
     States Securities       Request as imposing on                                          documents in response to
     and Exchange            Zoom undue burden and                                           other Requests.
     Commission; the         expense. Zoom additionally
     United States           objects to this Request to
     Federal Trade           the extent it seeks
     Commission; any         documents protected by
     State Attorney
     General or State



                                                                                                                                25
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                                      Exhibit 3 – Joint Discovery Chart re Plaintiffs’ First Set of RFPs to Zoom

RFP
    Disputed Request        Zoom’s Response                Plaintiffs’ Proposal             Zoom’s Proposal                    Court’s Decision
No.
    agency; and the         the attorney-client
    United States           privilege or the work
    Federal Bureau of       product doctrine.
    Investigation),
    relating to any         Subject to the foregoing
    matter alleged in       objections, Zoom has not
    the operative           conducted and will not
    complaint in this       conduct searches
    action.                 for responsive documents,
                            and, as a result, will not
                            produce documents in
                            response to this Request.
36   All Documents          In addition to the foregoing   Plaintiffs agree to Zoom’s       For any investigation of Zoom
     provided by You to     Objections to Definitions      proposal with the following      by a domestic or foreign
     any regulator or       and Instructions, including    changes: 1) discovery on         governmental or regulatory
     governmental           Objections                     Plaintiffs’ broader Third        body, Zoom is willing to
     entity, whether        to Definitions and             Party Data Proposal (not         conduct a reasonable search
     state, federal, or     Instructions Numbers 3, 11,    Zoom’s limitation); and 2) all   and produce (a) substantive
     foreign, relating to   and 12, which Zoom             correspondence, not limited      correspondence between
     any matter alleged     incorporates by reference,     to “substantive”.                Zoom and that domestic or
     in the operative       Zoom specifically objects                                       foreign governmental or
     complaint in this      that this Request is overly
                                                                                            regulatory body related to the
     action.                broad and seeks
                                                                                            three theories of Zoom’s
                            documents not relevant to
                                                                                            conduct that are the basis for
                            the
                            claims and defenses in this
                                                                                            Plaintiffs’ claims in this case:
                            case and not proportional                                       (1) the Facebook SDK, the
                            to the needs of the case,                                       Firebase Analytics SDK, and
                            including because it                                            the LinkedIn Sales Navigator,
                            seeks documents relating                                        (2) Zoom’s implementation of
                            to proceedings in foreign                                       end-to-end encryption of
                                                                                            meeting data, and (3) meeting



                                                                                                                                                  26
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                                 Exhibit 3 – Joint Discovery Chart re Plaintiffs’ First Set of RFPs to Zoom

RFP
    Disputed Request   Zoom’s Response               Plaintiffs’ Proposal            Zoom’s Proposal              Court’s Decision
No.
                       countries. Zoom further                                       disruptions; and (b)
                       objects that production                                       documents regarding the
                       of documents relating to                                      Three Theories produced to
                       such proceedings, if any,                                     the those bodies that were
                       could raise sovereignty and                                   not otherwise captured by
                       potential national                                            Zoom’s production of
                       security concerns. Zoom                                       documents in response to
                       further objects to this                                       other Requests
                       Request as imposing on
                       Zoom undue burden and
                       expense. Zoom additionally
                       objects to this Request to
                       the extent it seeks
                       documents protected by
                       the attorney-client
                       privilege or the work
                       product doctrine.
                       Subject to the foregoing
                       objections, Zoom has not
                       conducted and will not
                       conduct searches
                       for responsive documents,
                       and, as a result, will not
                       produce documents in
                       response to this Request.




                                                                                                                                     27
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                                     Exhibit 3 – Joint Discovery Chart re Plaintiffs’ First Set of RFPs to Zoom

RFP
    Disputed Request       Zoom’s Response                Plaintiffs’ Proposal             Zoom’s Proposal                    Court’s Decision
No.
37  All Communications     In addition to the foregoing   Plaintiffs agree to Zoom’s       For any investigation of Zoom
    with any regulator     Objections to Definitions      proposal with the following      by a domestic or foreign
    or governmental        and Instructions, including    changes: 1) discovery on         governmental or regulatory
    entity, whether        Objections                     Plaintiffs’ broader Third        body, Zoom is willing to
    state, federal, or     to Definitions and             Party Data Proposal (not         conduct a reasonable search
    foreign, relating to   Instructions Numbers 3, 11,    Zoom’s limitation); and 2) all   and produce (a) substantive
    any matter alleged     and 12, which Zoom             correspondence, not limited      correspondence between
    in the operative       incorporates by reference,     to “substantive”.                Zoom and that domestic or
    complaint in this      Zoom specifically objects                                       foreign governmental or
    action.                that this Request is overly
                                                                                           regulatory body related to the
                           broad and seeks
                                                                                           three theories of Zoom’s
                           documents not relevant to
                                                                                           conduct that are the basis for
                           the
                           claims and defenses in this
                                                                                           Plaintiffs’ claims in this case:
                           case and not proportional                                       (1) the Facebook SDK, the
                           to the needs of the case,                                       Firebase Analytics SDK, and
                           including because it                                            the LinkedIn Sales Navigator,
                           seeks documents relating                                        (2) Zoom’s implementation of
                           to proceedings in foreign                                       end-to-end encryption of
                           countries. Zoom further                                         meeting data, and (3) meeting
                           objects that production                                         disruptions; and (b)
                           of documents relating to                                        documents regarding the
                           such proceedings, if any,                                       Three Theories produced to
                           could raise sovereignty and                                     the those bodies that were
                           potential national                                              not otherwise captured by
                           security concerns. Zoom                                         Zoom’s production of
                           additionally objects to this                                    documents in response to
                           Request as imposing on                                          other Requests
                           Zoom undue burden
                           and expense. Zoom also
                           objects to this Request to
                           the extent it seeks



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RFP
    Disputed Request         Zoom’s Response                Plaintiffs’ Proposal             Zoom’s Proposal                    Court’s Decision
No.
                             documents protected by
                             the
                             attorney-client privilege or
                             the work product doctrine.
                             Subject to the foregoing
                             objections, Zoom has not
                             conducted and will not
                             conduct searches
                             for responsive documents,
                             and, as a result, will not
                             produce documents in
                             response to this Request.
38   All Documents           In addition to the foregoing   Plaintiffs agree to Zoom’s       For any investigation of Zoom
     including document      Objections to Definitions      proposal with the following      by a domestic or foreign
     requests,               and Instructions, including    changes: 1) discovery on         governmental or regulatory
     interrogatories,        Objections                     Plaintiffs’ broader Third        body, Zoom is willing to
     subpoenas, or any       to Definitions and             Party Data Proposal (not         conduct a reasonable search
     other form of           Instructions Numbers 3, 11,    Zoom’s limitation); and 2) all   and produce (a) substantive
     written discovery       and 12, which Zoom             correspondence, not limited      correspondence between
     served on Zoom (or      incorporates by reference,     to “substantive”.                Zoom and that domestic or
     otherwise received      Zoom specifically objects                                       foreign governmental or
     by Zoom) in any         that this Request is overly
                                                                                             regulatory body related to the
     litigation, whether     broad and seeks
                                                                                             three theories of Zoom’s
     in a state or federal   documents not relevant to
                                                                                             conduct that are the basis for
     court action, or in a   the
     case in a foreign       claims and defenses in this
                                                                                             Plaintiffs’ claims in this case:
     country, relating to    case and not proportional                                       (1) the Facebook SDK, the
     any matter alleged      to the needs of the case,                                       Firebase Analytics SDK, and
     in the operative        including because it                                            the LinkedIn Sales Navigator,
     complaint in this       seeks documents relating                                        (2) Zoom’s implementation of
     action.                 to proceedings in foreign                                       end-to-end encryption of
                                                                                             meeting data, and (3) meeting



                                                                                                                                                   29
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                                     Exhibit 3 – Joint Discovery Chart re Plaintiffs’ First Set of RFPs to Zoom

RFP
    Disputed Request       Zoom’s Response                Plaintiffs’ Proposal             Zoom’s Proposal                  Court’s Decision
No.
                           countries. Zoom further                                         disruptions; and (b)
                           objects that production                                         documents regarding the
                           of documents relating to                                        Three Theories produced to
                           such proceedings, if any,                                       the those bodies that were
                           could raise sovereignty and                                     not otherwise captured by
                           potential national                                              Zoom’s production of
                           security concerns. Zoom                                         documents in response to
                           additionally objects to this                                    other Requests
                           Request as imposing on
                           Zoom undue burden
                           and expense. Zoom also
                           objects to this Request to
                           the extent it seeks
                           documents protected by
                           the
                           attorney-client privilege or
                           the work product doctrine.
                           Subject to the foregoing
                           objections, Zoom responds
                           that no responsive
                           documents exist.
39   All Documents,        In addition to the foregoing   Plaintiffs agree to Zoom’s       For any investigation of Zoom
     including all         Objections to Definitions      proposal with the following      by a domestic or foreign
     transcripts or        and Instructions, including    changes: 1) discovery on         governmental or regulatory
     recordings of         Objections                     Plaintiffs’ broader Third        body, Zoom is willing to
     proceedings,          to Definitions and             Party Data Proposal (not         conduct a reasonable search
     depositions, or       Instructions Numbers 3, 11,    Zoom’s limitation); and 2) all   and produce (a) substantive
     interviews, arising   and 12, which Zoom             correspondence, not limited      correspondence between
     out of a state or     incorporates by reference,     to “substantive”.                Zoom and that domestic or
     federal court action; Zoom specifically objects                                       foreign governmental or
     a case in a foreign   that this Request is overly
                                                                                           regulatory body related to the
     country; or a case,   broad and seeks
                                                                                           three theories of Zoom’s


                                                                                                                                               30
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                                    Exhibit 3 – Joint Discovery Chart re Plaintiffs’ First Set of RFPs to Zoom

RFP
    Disputed Request      Zoom’s Response                Plaintiffs’ Proposal           Zoom’s Proposal                    Court’s Decision
No.
    proceeding,           documents not relevant to                                     conduct that are the basis for
    investigation, or     the                                                           Plaintiffs’ claims in this case:
    inquiry made by any   claims and defenses in this                                   (1) the Facebook SDK, the
    regulator or          case and not proportional                                     Firebase Analytics SDK, and
    government entity,    to the needs of the case,                                     the LinkedIn Sales Navigator,
    whether state,        including because it                                          (2) Zoom’s implementation of
    federal, or in a      seeks documents relating                                      end-to-end encryption of
    foreign country,      to proceedings in foreign                                     meeting data, and (3) meeting
    relating              countries. Zoom further                                       disruptions; and (b)
    to Zoom’s security    objects that production
                                                                                        documents regarding the
    or privacy policies   of documents relating to
                                                                                        Three Theories produced to
    or practices.         such proceedings, if any,
                                                                                        the those bodies that were
                          could raise sovereignty and
                          potential national
                                                                                        not otherwise captured by
                          security concerns. Zoom                                       Zoom’s production of
                          additionally objects to this                                  documents in response to
                          Request as imposing on                                        other Requests
                          Zoom undue burden
                          and expense. Zoom also
                          objects to this Request to
                          the extent it seeks
                          documents protected by
                          the
                          attorney-client privilege or
                          the work product doctrine.
                          Subject to the foregoing
                          objections, Zoom has not
                          conducted and will not
                          conduct searches
                          for responsive documents,
                          and, as a result, will not




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RFP
    Disputed Request      Zoom’s Response                  Plaintiffs’ Proposal              Zoom’s Proposal                      Court’s Decision
No.
                          produce documents in
                          response to this Request.
50   All Documents        In addition to the foregoing     Plaintiffs agree that this        Zoom is willing to conduct a
     concerning           Objections to Definitions        request can be limited to         reasonable search and produce
     Communication of     and Instructions, including      Plaintiffs’ factual theories re   nonprivileged documents
     Your users’ login    Objections to Definitions        (1) Plaintiffs’ Third Party       concerning the collection, use,
     information to any   and Instructions Number 4,       Data Proposal, (2) alleging       transmission, or storage of data
     third party.         which Zoom incorporates          liability for meeting             about Zoom users as it relates
                          by reference, Zoom               disruptions caused by             to the three third-party Zoom
                          specifically objects that this   unwanted third-party              Meetings integrations that are
                          Request is overly broad and      participants who joined           the basis of Plaintiffs’ claims in
                          seeks documents not              Plaintiffs’ Zoom meetings         this case: the Facebook SDK,
                          relevant to the claims and       (including communication of       the Firebase Analytics SDK,
                          defenses in this case and        users’ login information to       and LinkedIn Sales
                          not proportional to the          third parties in China so as      Navigator(i.e., the only of
                          needs of the case, including     to enable those third parties     Plaintiffs’ three theories to
                          because Plaintiffs have not      to disrupt meetings and thus      which this Request conceivably
                          alleged any personal             fabricate violations of           relates).
                          connection to or harm from       Zoom’s terms of service), or
                          the alleged third-party data     (3) alleging false claims
                          sharing.                         regarding encryption
                                                           capabilities.
                          Zoom further objects to
                          this Request as imposing on
                          Zoom undue burden and
                          expense. Zoom
                          additionally objects to this
                          Request to the extent it
                          seeks documents protected
                          by the attorney-client
                          privilege or the work
                          product doctrine.



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                                       Exhibit 3 – Joint Discovery Chart re Plaintiffs’ First Set of RFPs to Zoom

RFP
    Disputed Request        Zoom’s Response                  Plaintiffs’ Proposal              Zoom’s Proposal                      Court’s Decision
No.

                            Subject to the foregoing
                            objections, Zoom responds
                            that it will meet and confer
                            with Plaintiffs about this
                            Request.
53   All Documents          In addition to the foregoing     Plaintiffs propose this           Zoom is willing to conduct a
     evidencing             Objections to Definitions        request can be limited to         reasonable search and produce
     architecture maps,     and Instructions, including      Plaintiffs’ factual theories re   nonprivileged documents
     diagrams and flow      Objections to Definitions        (1) Plaintiffs’ Third Party       regarding any network maps,
     charts concerning      and Instructions Number 4,       Data Proposal, (2) alleging       diagrams or flow charts
     Your Networks and      which Zoom incorporates          liability for meeting             regarding data sharing via the
     information            by reference, Zoom               disruptions caused by             three third-party Zoom
     systems that share     specifically objects that this   unwanted third-party              Meetings integrations that are
     data, in any way,      Request is overly broad and      participants who joined           the basis of Plaintiffs’ claims in
     with third party       seeks documents not              Plaintiffs’ Zoom meetings, or     this case: the Facebook SDK,
     servers including      relevant to the claims and       (3) alleging false claims         the Firebase Analytics SDK,
     but not limited to     defenses in this case and        regarding encryption              and LinkedIn Sales Navigator.
     Facebook, Google,      not proportional to the          capabilities.
     LinkedIn, Amazon,      needs of the case, including
     or any other           because Plaintiffs have not
     advertising,           alleged any personal
     analytics, or social   connection to or harm from
     media platform.        the alleged third-party data
                            sharing.

                            Zoom further objects that
                            the phrases “architecture
                            maps, diagrams and flow
                            charts concerning




                                                                                                                                                       33
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RFP
    Disputed Request        Zoom’s Response                  Plaintiffs’ Proposal              Zoom’s Proposal                   Court’s Decision
No.
                            Your Networks and
                            information systems” and
                            “with third party servers”
                            are vague and ambiguous.

                            Subject to the foregoing
                            objections, Zoom responds
                            that it will meet and confer
                            with Plaintiffs about this
                            Request.
54   All Documents          In addition to the foregoing     Plaintiffs propose this           Zoom is willing to conduct a
     evidencing             Objections to Definitions        request can be limited to         reasonable search and produce
     architecture maps,     and Instructions, including      Plaintiffs’ factual theories re   nonprivileged documents
     diagrams and flow      Objections to Definitions        (1) Plaintiffs’ Third Party       regarding any Networks and
     charts concerning      and Instructions Number 4,       Data Proposal (2) alleging        information systems that
     Your Networks and      which Zoom incorporates          liability for meeting             maintain or that transmit data
     information            by reference, Zoom               disruptions caused by             about Zoom users with respect
     systems that           specifically objects that this   unwanted third-party              to the three theories of
     maintain or that       Request is overly broad and      participants who joined           Zoom’s conduct that are the
     transmit PII or Your   seeks documents not              Plaintiffs’ Zoom meetings, or     basis for Plaintiffs’ claims in
     users’ login           relevant to the claims           (3) alleging false claims         this case: (1) the Facebook
     information.           and defenses in this case        regarding encryption              SDK, the Firebase Analytics
                            and not proportional to the      capabilities.                     SDK, and the LinkedIn Sales
                            needs of the case, including                                       Navigator; (2) Zoom’s
                            because Plaintiffs have not                                        implementation of end-to-end
                            alleged any personal                                               encryption of meeting data;
                            connection to or harm from                                         and (3) meeting disruptions.
                            the alleged third-party data
                            sharing.




                                                                                                                                                    34
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                                     Exhibit 3 – Joint Discovery Chart re Plaintiffs’ First Set of RFPs to Zoom

RFP
    Disputed Request      Zoom’s Response                  Plaintiffs’ Proposal            Zoom’s Proposal                       Court’s Decision
No.
                          Zoom further objects that
                          the phrase “maintain or
                          transmit PII or Your users’
                          login information” is
                          vague and ambiguous.

                          Subject to the foregoing
                          objections, Zoom responds
                          that it will meet and confer
                          with Plaintiffs about this
                          Request.
57   All documents        In addition to the foregoing     Plaintiffs agree that the       Zoom is willing to conduct a
     concerning Zoom’s    Objections to Definitions        request can be limited to       reasonable search and produce
     internal and         and Instructions, including      their Third Party Data          nonprivileged traffic auditing
     external Network     Objections to Definitions        Proposal, however, Plaintiffs   procedures applicable to the
     traffic auditing     and Instructions Number 4,       do not agree to limit this      three third-party Zoom
     procedures and       which Zoom incorporates          request to the Facebook         Meetings integrations that are
     policies including   by reference, Zoom               SDK and Google Firebase         the basis for Plaintiffs’ claims in
     deep packet          specifically objects that this   Analytics SDK.                  this case: the Facebook SDK,
     inspection.          Request is overly broad and                                      the Firebase Analytics SDK, or
                          seeks documents not                                              the LinkedIn Sales Navigator.
                          relevant to the claims and
                          defenses in this case and
                          not proportional to the
                          needs of the case. Zoom
                          further objects to this
                          Request as imposing on
                          Zoom undue burden and
                          expense. Zoom additionally
                          objects that the




                                                                                                                                                    35
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                                       Exhibit 3 – Joint Discovery Chart re Plaintiffs’ First Set of RFPs to Zoom

RFP
    Disputed Request        Zoom’s Response                  Plaintiffs’ Proposal           Zoom’s Proposal                      Court’s Decision
No.
                            phrase “internal and
                            external traffic auditing
                            procedures and policies
                            including deep packet
                            inspection” is vague,
                            ambiguous, and
                            unintelligible.

                            Subject to the foregoing
                            objections, Zoom has not
                            conducted and will not
                            conduct searches for
                            responsive documents,
                            and, as a result, will not
                            produce documents in
                            response to this Request.
60   All Documents          In addition to the foregoing     Plaintiffs propose that this   Zoom is willing to conduct a
     relating to whether    Objections to Definitions        request can be limited to      reasonable search and produce
     Zoom obtained          and Instructions, including      Plaintiffs’ Third Party Data   nonprivileged documents
     consent from any       Objections to Definitions        Proposal.                      regarding non-enterprise users’
     user, including, but   and Instructions Number 3,                                      consent to any transmission of
     not limited to,        which Zoom incorporates                                         data about Zoom users by the
     Plaintiffs, to have    by reference, Zoom                                              three third-party Zoom
     their PII and/or PHI   specifically objects that this                                  Meetings integrations that are
     collected and/or       Request is overly broad and                                     the basis of Plaintiffs’ claims in
     provided to third      seeks documents not                                             this case: the Facebook SDK,
     parties.               relevant to the claims and                                      the Firebase Analytics SDK,
                            defenses in this case and                                       and the LinkedIn Sales
                            not proportional to the                                         Navigator.
                            needs of the case. Zoom
                            further objects to this




                                                                                                                                                    36
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                                       Exhibit 3 – Joint Discovery Chart re Plaintiffs’ First Set of RFPs to Zoom

RFP
    Disputed Request        Zoom’s Response                  Plaintiffs’ Proposal           Zoom’s Proposal                      Court’s Decision
No.
                            Request as imposing on
                            Zoom undue burden and
                            expense. Zoom additionally
                            objects to this Request to
                            the extent it seeks
                            documents protected by
                            the attorney-client
                            privilege or the work
                            product doctrine.

                            Subject to the foregoing
                            objections, Zoom responds
                            that it will meet and confer
                            with Plaintiffs about this
                            Request.
61   All Documents          In addition to the foregoing     Plaintiffs agree that this     Zoom is willing to conduct a
     concerning the use     Objections to Definitions        request can be limited to      reasonable search and produce
     of any information     and Instructions, including      Plaintiffs’ Third Party Data   nonprivileged documents
     gathered for           Objections to Definitions        Proposal.                      regarding any “fingerprinting”
     purposes of digital    and Instructions Number 4,                                      by the three third-party Zoom
     “fingerprinting,” or   which Zoom incorporates                                         Meetings integrations that are
     the process by         by reference, Zoom                                              the basis of Plaintiffs’ claims in
     which websites and     specifically objects that this                                  this case: the Facebook SDK,
     applications can       Request is overly broad and                                     the Firebase Analytics SDK,
     discern that a         seeks documents not                                             and the LinkedIn Sales
     device belongs to a    relevant to the claims and                                      Navigator.
     particular user        defenses in this case and
     based on system        not proportional to the
     configurations,        needs of the case. Zoom
     whether by you or      further objects to this
     any third party.




                                                                                                                                                    37
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                                 Exhibit 3 – Joint Discovery Chart re Plaintiffs’ First Set of RFPs to Zoom

RFP
    Disputed Request   Zoom’s Response               Plaintiffs’ Proposal            Zoom’s Proposal          Court’s Decision
No.
                       Request as imposing on
                       Zoom undue burden and
                       expense. Zoom additionally
                       objects to this Request to
                       the extent it seeks
                       documents that are not in
                       Zoom’s possession, control,
                       or custody.

                       Subject to the foregoing
                       objections, Zoom has not
                       conducted and will not
                       conduct searches
                       for responsive documents,
                       and, as a result, will not
                       produce documents in
                       response to this Request.




                                                                                                                                 38
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                                     Exhibit 3 – Joint Discovery Chart re Plaintiffs’ First Set of RFPs to Zoom

RFP
    Disputed Request      Zoom’s Response                  Plaintiffs’ Proposal              Zoom’s Proposal                        Court’s Decision
No.
65  All Documents         In addition to the foregoing     Plaintiffs propose this           Zoom is willing to conduct a
    concerning or         Objections to Definitions        request can be limited to         reasonable search and produce
    constituting Your     and Instructions, which          Plaintiffs’ factual theories re   nonprivileged documents
    document retention    Zoom incorporates by             (1) Plaintiffs’ Third Party       regarding the retention policy
    or destruction        reference, Zoom                  Data Proposal, (2) alleging       for documents concerning the
    policy or policies,   specifically objects that this   liability for meeting             three theories of Zoom’s
    including, but not    Request is overly broad and      disruptions caused by             conduct that are the basis for
    limited to, any       seeks documents not              unwanted third-party              Plaintiffs’ claims in this case: (1)
    practices,            relevant to the claims and       participants who joined           the Facebook SDK, the
    procedures,           defenses in this case and        Plaintiffs’ Zoom meetings, or     Firebase Analytics SDK, and the
    training, training    not proportional to the          (3) alleging false claims         LinkedIn Sales Navigator; (2)
    manuals, seminars     needs of the case. Zoom          regarding encryption              Zoom’s implementation of end-
    and/or classes that   further objects to this          capabilities.                     to-end encryption of meeting
    You provided, or      Request as imposing on                                             data; and (3) meeting
    offered to, Your      Zoom undue burden and                                              disruptions.
    employees,            expense.
    independent
    contractors,          Zoom also objects to this
    officers, directors   request to the extent it
    and/or any third-     seeks documents protected
    party vendors         by the attorney-client
    concerning the        privilege or the work
    maintenance and       product doctrine.
    security of ESI,
    including ESI         Subject to the foregoing
    containing Your       objections, Zoom responds
    customers’ records    that it will meet and confer
    and information.      with Plaintiffs about this
                          request.




                                                                                                                                                       39
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                                    Exhibit 3 – Joint Discovery Chart re Plaintiffs’ First Set of RFPs to Zoom

RFP
    Disputed Request      Zoom’s Response                Plaintiffs’ Proposal              Zoom’s Proposal                        Court’s Decision
No.
66  All Documents         In addition to the foregoing   Plaintiffs propose this           Zoom is willing to conduct a
    concerning the        Objections to Definitions      request can be limited to         reasonable search and produce
    banning of the use    and Instructions, including    Plaintiffs’ factual theories re   nonprivileged documents, if
    of Zoom’s             Objections to Definitions      (1) Plaintiffs’ Third Party       any, regarding non-enterprise
    technologies,         and Instructions Numbers 3     Data Proposal, (2) alleging       customers’ discontinuation of
    including but not     and 12, which Zoom             liability for meeting             the use of Zoom related to the
    limited to            incorporates by reference,     disruptions caused by             three theories of Zoom’s
    correspondence        Zoom specifically objects      unwanted third-party              conduct that are the basis for
    from businesses,      that this Request is overly    participants who joined           Plaintiffs’ claims in this case: (1)
    healthcare            broad and seeks                Plaintiffs’ Zoom meetings, or     the Facebook SDK, the Google
    providers,            documents not relevant to      (3) alleging false claims         Firebase Analytics SDK, and
    educational           the claims and defenses in     regarding encryption              LinkedIn SNAP; (2) Zoom’s
    institutions, or      this case and not              capabilities.                     implementation of end-to-end
    government entities   proportional to the needs                                        encryption of meeting data;
    citing privacy or     of the case, including                                           and (3) meeting disruptions,
    security concerns.    because Plaintiffs                                               given that Plaintiffs are non-
                          have not alleged any                                             enterprise customers.
                          personal connection to or
                          harm from the alleged
                          third-party data sharing.
                          Zoom further objects to
                          this Request as imposing on
                          Zoom undue burden and
                          expense. Zoom also objects
                          that the phrase “the
                          banning of use” is vague
                          and ambiguous.




                                                                                                                                                     40
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                                 Exhibit 3 – Joint Discovery Chart re Plaintiffs’ First Set of RFPs to Zoom

RFP
    Disputed Request   Zoom’s Response                Plaintiffs’ Proposal           Zoom’s Proposal          Court’s Decision
No.
                       Subject to the foregoing
                       objections, Zoom responds
                       that it will meet and confer
                       with Plaintiffs about this
                       request.




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